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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

  In Re:                                        §       Chapter 11
                                                §
  Loadcraft Industries, Ltd.                    §       Case No. 21-11018-tmd-11
                                                §
                Debtors.                        §


  COMPLAINT FOR DECLARATORY JUDGMENT and EMERGENCY MOTION FOR
            TEMPORARY and PERMANENT INJUNCTIVE RELIEF
                   AND BRIEF IN SUPPORT THEREOF


  NOTICE:      This pleading requests relief that may be adverse to your interests.
  If no timely response is filed within 21 days from the date of service, the relief
  requested herein may be granted without a hearing being held. A timely filed
  response is necessary for a hearing to be held.

  TO THE HONORABLE JUDGE OF SAID COURT:

           NOW COMES, BRADY PLANT OPERATORS LLC, by and through its sole member,

  TERRY MCIVER, the General Partner for DEBTOR LOADCRAFT INDUSTRIES, LTD.,

  TERRY MCIVER, Individually, and GLIDER PRODUCTS LLC, hereinafter PLAINTIFFS and

  MOVANTS, complaining of CHARLES HINKLE, Individually, and in his claimed capacity as

  MANAGER OF BRADY PLANT OPERATORS, LLC, ALPHONSO ENERGY LLC,

  GLORIOUS SPLENDOR TOO, LLC, now claiming to be the General Partner of DEBTOR and

  NESTOR OUTCOMES LLC, hereinafter DEFENDANTS and RESPONDENTS seeking

  declaratory relief and pursuant to BRCP 7065 and FRCP 65, includes and files this Emergency

  Motion for Temporary Restraining Order and Injunctive Relief against these same

  DEFENDANTS AND RESPONDENTS and in support would show as follows:


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                                                       I.
                                                 PARTIES

          1.      Plaintiff/Movant BRADY PLANT OPERATORS, LLC is a Texas limited

  liability company.

          2.      Plaintiff /Movant GLIDER PRODUCTS LLC is a Texas limited liability

  company in good standing.

          3.      Plaintiff/Movant TERRY MCIVER is an individual residing in Coleman,Texas.

          4.      Defendant/Respondent CHARLES HINKLE, is an individual residing in South

  Carolina that due to the time sensitive injunctive request, service is being made via e-mail to his

  attorney in the underlying state court litigation.

          5.      Defendant/Respondent ALPHONSO ENERGY, LLC, is a Texas Limited liability

  company, that due to the time sensitive injunctive request, service is being made via e-mail to its

  attorney in the underlying state court litigation.

          6.      Defendant/Respondent GLORIOUS SPLENDOR TOO LLC, is a Texas Limited

  liability company, that due to the time sensitive injunctive request, service is being made via e-

  mail to its attorney in the underlying state court litigation.

          7.      Defendant/Respondent NESTOR OUTCOMES LLC, is a Texas Limited liability

  company, that due to the time sensitive injunctive request, service is being made via e-mail to its

  attorney in the underlying state court litigation.

                                                       II.

                                       JURISDICTION AND VENUE

          1.      LOADCRAFT INDUSTRIES, LTD, is a chapter 11 debtor before the United

  States Bankruptcy Court for the Western District of Texas, Austin Division.

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         2.       This Court has jurisdiction over this adversary proceeding pursuant to 28 §§

  157(a), and 1334(a). Jurisdiction to grant declaratory relief exists pursuant to 28 U.S.C. §§ 2201

  and 2202, 11 U.S.C. § 105, and Fed. R. Bankr. P. 7001(2) and 7001(9).

         3.       This Court has personal jurisdiction over all defendants. The exercise of personal

  jurisdiction over all defendants is consistent with the Constitution and laws of the United States.

  Furthermore, there is personal jurisdiction over all defendants pursuant to Fed. R. Bankr. P.

  7004(f).

         4.       This proceeding is a core proceeding within the meaning of 28 U.S.C.

  §§157(b)(2)(A) (concerning the administration of the estate), 157(b)(2)(M) (concerning the use

  of property, including cash collateral), and 157(b)(2)(O) (including other proceedings affecting

  liquidation of estate assets or adjustment of the debtor-creditor relationship).

         5.         Venue is proper in the Western District of Texas pursuant to 28 U.S.C.

  §1409(a).

                                                   III.

                                       CONDITIONS PRECEDENT

             6.     All conditions precedent necessary to maintain this action have occurred or

  have been performed.

                                                   IV.

                                          NATURE OF ACTION

             7.     This is an action for declaratory judgment made pursuant to Fed. R. Bankr.

  7001(2) and 7001(9), and the Federal Declaratory Judgment Act, 28 U.S.C. § 2201, et seq.

  Plaintiffs seek a declaratory judgment determining the General Partner status and authority for


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  the DEBTOR LOADCRAFT INDUSTRIES LTD and the continued management and operations

  of the DEBTOR.

                                                  V.

                                            BACKGROUND

          8.     Debtor Loadcraft Industries Ltd is a Texas Limited Partnership with Brady Plant

  Operators LLC as its General Partner.

          9.     Brady Plant Operators LLC is a Texas sole member Limited Liability Corporation

  with Terry McIver as its sole member.

          10.    In 2017, Alphonso Energy LLC invested in Loadcraft Industries ltd in return for a

  50% limited partnership interest.

          11.    In 2016, Nestor Outcomes LLC invested in Loadcraft Industries Ltd and then

  pursuant to the 2017 Alphonso Energy Ownership Agreement to a 15% limited partnership

  interest.

          12.    In 2017, the Alphonso Energy Ownership Agreement (“Alphonso Agreement”)

  was entered into to reflect these new limited partners and their respective interests and a true and

  correct copy of that purchase agreement is attached hereto as Exhibit “A”. In the attached, it

  specifically provides for Terry McIver, as sole member of BPO, the general partner, to effectuate

  the removal of two current managers and replace with Charles Hinkle and an entity related to

  Alphonso Energy (a limited partner) named Glorious Splendor Too, LLC. The only proviso was

  that as long as Alphonso Energy remained a limited partner, then Glorious Splendor could not be

  removed as a manager. There was no such proviso as to the removal of Charles Hinkle.


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         13.    The Alphonso Agreement also made several changes to the Agreement of Limited

  Partnership of Loadcraft Industries Ltd., a true and correct copy of which is attached hereto as

  Exhibit “B.” Specifically, it changed the limited partners, the interest owned by the limited

  partners and changed how the General Partner could be removed from a majority of interest vote

  to a majority of the limited partners vote. See Section 5 of Exhibit “A” and Sections 6.11 and

  12.2 of Exhibit “B.” It is of note that all limited partners and the general partner signed the

  Alphonso Agreement.

         14.    Charles Hinkle was the CEO and CFO of Loadcraft from May of 2016 until

  November of 2019 and then continued as CFO until he abruptly left in early November of 2020

  without notice. In November of 2019, based on an agreement between managers McIver and

  Glorious Splendor, Hinkle was removed as CEO and Terry McIver was instated as CEO of

  Loadcraft Industries Ltd. Further, Charles Hinkle was removed as a manager for the general

  partner effective November 11, 2020. A true and correct copy of the Unanimous Consent to

  remove Hinkle is attached hereto as Exhibit “C.”

         15.    In December of 2020, the relationship between Alphonso Energy member Brian

  Alphonso and Terry McIver began to deteriorate. Charles Hinkle also made demand on

  Loadcraft for monies he believed were still owed to him.

         16.    In the Spring of 2021, negotiations between Alphonso Energy and Loadcraft

  through Terry McIver were undertaken to resolve their differences. There was no resolution

  reached.




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           17.   On or about June 16, 2021, suit was filed in state court against MOVANTS

  MCIVER and GLIDER and DEBTOR LOADCRAFT as referenced above. A counterclaim

  against CHARLES HINKLE was filed by DEBTOR LOADCRAFT and a third-party claim

  against BRIAN ALPHONSO was filed by MOVANT MCIVER. A true and correct copies of the

  pleadings in this suit are attached hereto as Exhibit “D.” This suit is ongoing and in the discovery

  phase.

           18.   On December 30, 2021, CHARLES HINKLE, as a manager of BRADY PLANT

  OPERATORS LLC, the general partner of DEBTOR LOADCRAFT, authorized and signed the

  filing of this bankruptcy, despite having been removed as a manager and despite having quit

  working for DEBTOR LOADCRAFT in November of 2020. Further, shortly before filing the

  bankruptcy, CHARLES HINKLE and GLORIOUS SPLENDOR TOO evidently executed a

  corporate resolution to effectuate the bankruptcy and to “fire” MOVANT MCIVER and ban him

  from the premise. Attached hereto as Exhibit “E” is a true and correct copy of the corporate

  resolution provided to MOVANT MCIVER. Of course, it is MOVANTS contention this was

  unauthorized and illegal.

           19.   On December 31, 2021, two of the limited partners, RESPONDENTS

  ALPHONSO ENERGY LLC and NESTOR OUTCOMES LLC, also executed a corporate

  resolution to remove MOVANT BRADY PLANT OPERATOR LLC as the General Partner of

  DEBTOR LOADCRAFT and substitute GLORIOUS SPLENDOR TOO LLC as the General

  Partner and again, “fire” MOVANT MCIVER and deny his access. Attached hereto as Exhibit

  “F” are true and correct copies of these corporate resolutions as provided by opposing counsel to



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  MOVANT MCIVER. As with HINKLE’S actions, this attempt fails as it violates the Alphonso

  Agreement (Ex A) as only 2 of the 3 necessary limited partners agreed to the resolution.

          20.     BRADY PLANT OPERATORS LLC asserts it is still the General Partner of

  DEBTOR LOADCRAFT and under the terms of the operating agreement (Ex. B) and Alphonso

  Agreement (Ex. A), should be the Debtor-in-Possession and operating and managing the

  DEBTOR.


                                        VI.
  CAUSES OF ACTION: FIRST CAUSE OF ACTION: DECLARATION OF GENERAL PARTNER STATUS
           FOR DEBTOR AND AUTHORITY FOR MANAGEMENT AND OPERATIONS OF DEBTOR

  1.      Plaintiffs incorporate all prior paragraphs into this section to the extent not inconsistent as

  if fully set forth herein.

  2.      This claim for relief arises under the Federal Declaratory Judgment Act, 28 U.S.C. §2201

  and rules 7001(2) and 7001(9) of the Federal Rules of Bankruptcy Procedure.

  3.      In a case of actual controversy within its jurisdiction, except with respect to inapplicable

  exceptions, any court of the United States, upon the filing of an appropriate pleading, may

  declare the rights and other legal relations of any interested party seeking such declaration,

  whether or not further relief is or could be sought. 28 U.S.C. § 2201(a). Any such declaration

  shall have the force and effect of a final judgment or decree and shall be reviewable as such. 28

  U.S.C. § 2201(a).

  4.      An actual case or controversy exists because DEFENDANTS, on two (2) occasions have

  wrongfully and without authorization executed Corporate Resolutions (Exs E and F) claiming to

  first (Ex E), be managers and have management authority of BRADY PLANT OPERATORS

  LLC, the General Partner of DEBTOR LOADCRAFT INDUSTRIES LTD, authorizing the filing

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  of this bankruptcy and the removal of TERRY MCIVER as CEO of DEBTOR, and blocking all

  access to the physical location, the computers, and personal and confidential information. Then,

  the day after filing this Bankruptcy (12/31/21), a new and also unauthorized set of corporate

  resolutions (Ex F) were executed attempting to insert a new General Partner, DEFENDANT

  GLORIOUS SPLENDOR TOO LLC, for DEBTOR LOADCRAFT. Again, all of these corporate

  resolutions and attempted acts were not done incompliance with the governing operating

  agreements as set out in attached Exhibits A and B.


                                         VII.
         CAUSES OF ACTION: SECOND CAUSE OF ACTION: MOTION FOR EMERGENT
                    INJUNCTIVE RELIEF AND BRIEF IN SUPPORT

          1.         Plaintiffs incorporate all prior paragraphs into this section to the extent not

  inconsistent as if fully set forth herein.

          2.      Movants move for injunctive relief under BRCP 7065 and FRCP 65 against

          DEBTOR related CHARLES HINKLE, Individually, and in his claimed capacity as

          MANAGER OF BRADY PLANT OPERATORS, LLC, ALPHONSO ENERGY LLC,

          GLORIOUS SPLENDOR TOO, LLC and NESTOR OUTCOMES LLC as immediate

          and irreparable harm will occur if an immediate temporary restraining order is not

          entered and a subsequent temporary injunction not issued. Respondents have filed this

          bankruptcy without authorization, taken effective control of the DEBTOR without

          authorization, have wrongfully limited physical and computer access to TERRY

          MCIVER, sole member manager of BRADY PLANT OPERATORS LLC, the General

          Partner to DEBTOR LOADCRAFT INDUSTRIES LTD, and are clearly attempting to or

          have taken possession of numerous confidential and privileged communications and

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         documents generated in the related state court litigation styled ALPHONSO ENERGY

         LLC, CHARLES HINKLE and NESTOR                       OUTCOMES LLC,              Plaintiffs, v.

         LOADCRAFT INDUSTRIES LTD., TERRY MCIVER, AND GLIDER PRODUCTS,

         LLC, Defendants and Third-Party Plaintiff, CAUSE NO. D-1-GN-21-002825, 98th

         Judicial District Court, Travis County, Texas. To allow these parties, adverse to

         MOVANTS in the state court litigation, access to privileged and confidential

         communications, would cause immediate and irreparable harm to movants in the

         contested state court action. Immediate and irreparable harm will come to the DEBTOR

         as Respondents are not familiar with the day-to-day operations, not familiar with current

         or anticipated contracts and obligations and generally do not know the direction and

         management of the company which will lead to immediate and irreparable harm. Further,

         MOVANT TERRY MCIVER has personal effects and personal confidential information

         he is being blocked from retrieving and accessing. Further, some of the corporate

         information and documentation for MOVANT GLIDER PRODUCTS LLC is on the

         premise of LOADCRAFT and effectively blocked by Respondents.

         3.        The status quo is for the continuation of MOVANT BRADY PLANT

         OPERATORS LLC, through its duly appointed managers, to continue as General Partner

         for LOADCRAFT INDUSTRIES LTD pending the final determination of the state court

         action.

         4.        Movants are willing to post security as deemed proper by the Court.

         5.        Each specific element of the defenses and claims upon which this motion is

  brought are set forth in the brief in support. This motion is based on the pleadings and papers on

  file in this case and the attached memorandum of points and authorities.
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         6.     Due to the wrongful attempts to exert control over DEBTOR LOADCRAFT and

         MOVANT MCIVER and their wrongful attempts to access privileged and confidential

         information as set out in the various resolutions, MOVANTS seek INJUNCTIVE

         RELIEF and PROTECTION from this Court.

         7.     BRADY PLANT OPERATORS LLC, by and through its sole member, TERRY

         MCIVER, the general partner for DEBTOR LOADCRAFT INDUSTRIES, LTD., file

         this its brief in support of its motion for temporary restraining and injunctive relief and

         ask the presiding judge to grant their motion for temporary restraining order pursuant to

         BRCP 7065.5.

         8.     Pursuant to BRCP 7065.5 and FRCP 65, Movant believes an ex parte temporary

         restraining order is proper, but is moving for an emergent and expedited hearing on the

         requested injunction ordering that CHARLES HINKLE, BRIAN ALPHONSO, their

         respective companies, employees, agents and lawyers do not and shall not have access,

         look at or otherwise gain knowledge of the content of any privileged communications by

         and between or at the direction of the lawyers for Defendants in the state court litigation

         and TERRY MCIVER, LOU COLLAZO and/or KENDRA OLDHAM, any documents

         and drafts of documents of work product generated by the lawyers for Defendants in the

         state court litigation or documents and drafts of documents generated at the request of the

         lawyers for Defendants; including, but not limited to any such communications or

         documents stored on computers or in print. Further, CHARLES HINKLE, BRIAN

         ALPHONSO, their respective companies, employees, agents and lawyers do not and shall

         not have access, look at or otherwise gain knowledge of the content of any personal or

         otherwise confidential e-mail, document or physical tangible thing of TERRY MCIVER.
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         Still further, CHARLES HINKLE, BRIAN ALPHONSO, their respective companies,

         employees, agents and lawyers do not block access by TERRY MCIVER and/or LOU

         COLLAZO to their computers, e-mails and personal property and effects. Finally,

         CHARLES HINKLE, BRIAN ALPHONSO, their respective companies, employees,

         agents and lawyers be ordered to vacate the Loadcraft Premise, be precluded from any

         management or employment operations and the status quo be restored to where BRADY

         PLANT OPERATORS LLC acts as General Partner for DEBTOR LOADCRAFT until

         further order of this Court.

         9.     The Fifth Circuit follows the traditional four-part test, in which the movant must

         show: (1) A substantial likelihood of success on the merits; (2) A substantial threat of

         irreparable harm if the injunction is not granted; (3) That the threatened injury outweighs

         any harm that the injunction might cause to the non-movant; and (4) That the injunction

         will not disserve the public interest. Opulent Life Church v. City of Holly Springs, Miss.,

         697 F.3d 279, 288 (5th Cir. 2012); Tex. Midstream Gas Serv., LLC v. City of Grand

         Prairie, 608 F.3d 200, 206 (5th Cir. 2010).

         10.    A review of the attached Alphonso Agreement, Limited Partnership Agreement

         for Loadcraft and the Unanimous Consent removing Charles Hinkle as a manager of

         Brady Plant Operators LLC (Exs. A, B and C, respectively), shows that Respondents did

         not have the authority to do anything they are attempting as evidenced by their various

         corporate resolutions (Exs E and F), including the filing of this bankruptcy and certainly

         did not have the authority to try and take over Debtor Loadcraft Industries, firing Terry

         McIver and barring him from the facilities, and claiming ownership and access to

         hundreds of privileged and confidential documents from the state court litigation. As
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         such, number one is met as a substantial likelihood exists for success by MOVANTS on

         the merits.

         11.     As evidenced by the affidavit of Terry McIver attached hereto and the facts as set

         out above, the harm is immediate and irreparable to both himself individually, but also to

         the DEBTOR, to the general partner of the DEBTOR, the remaining defendant in the

         state court action, MOVANT GLIDER.

         12.     The granting of the temporary restraining order and the temporary injunction will

         not cause any harm to the Respondents as these claimed issues have been prevalent in the

         state court litigation.

         13.     There is no disservice to the public interest.

         14.     An Emergent Temporary Restraining Order is proper and a separate motion or

         Expedited Hearing is being filed in conjunction.

         15.     Finally, pursuant to BRP 7065.5, the undersigned counsel tried to work out an

         agreed protective order with opposing counsel concerning the privileged and protected

         communications in the possession of DEBTOR LOADCRAFT, but no agreement could

         be reached by the time of filing and therefore, due to the high likelihood of substantial,

         immediate and irreparable harm to the Movants, an Ex Parte Temporary Restraining

         Order would likely be proper. However, alternatively, an expedited hearing on the

         injunctive relief sought is what is being requested and should be held as soona s the

         Court’s schooled permits. As the Court will see from the attached corporate resolutions

         the intent to access the privileged and confidential communications and work product,

         along with neither the opposing counsel in the bankruptcy nor the opposing counsel in the

         state court litigation agreeing to not access such privileged communications and work
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         product, it appears that they have likely already accessed these items or will do so while

         waiting on a hearing. Again, while the granting of an Ex Parte Temporary Restraining

         Order is proper, Movants are filing a motion for expedited hearing on their application

         for injunctive relief in lieu of the request for an Ex Parte order.

         16.     Again, the Movants are willing to post the required security with the court.



                                       VIII.
  CAUSES OF ACTION: THIRD CAUSE OF ACTION: RECOVERY OF ATTORNEYS’ FEES AND COSTS

            1.   Plaintiffs incorporate all prior paragraphs into this section to the extent not

    inconsistent as if fully set forth herein.

            2.   Pursuant to Section 506(b) of the Bankruptcy Code and 28 U.S.C. § 2202,

    Plaintiffs seek recovery of all reasonable and necessary attorneys’ fees, interest, and costs

    incurred in enforcing their rights related to this proceeding.


                                                    IX.
                                  RESERVATION OF RIGHTS
            This complaint is made in good faith and is based on information reasonably

    known or available to Plaintiffs as of the time of filing. Plaintiffs reserve the right to

    amend this complaint based on new or unknown information subsequently located,

    received, or revealed or as otherwise allowed by law of this Court.

            WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request that the

    Court (1) grant the immediate injunctive relief as requested: (2) enter a declaratory



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     judgment substantially in the form as detailed above; (3) award Plaintiffs their reasonable

     attorneys’ fees, interest, and costs incurred; and (4) such other relief as is just and proper.


                                                 Respectfully submitted,


                                                 MCMAHON SUROVIK SUTTLE, P.C.
                                                 P.O. Box 3679
                                                 Abilene, Texas 79604
                                                 (325) 676-9183 Telephone
                                                 (325) 676-8836 Facsimile

                                                 BY: /s/ Robert B. Wagstaff
                                                      ROBERT B. WAGSTAFF
                                                        State Bar No. 20665000

                                                        rwagstaff@mcmahonlawtx.com
                                                 ATTORNEYS FOR PLAINTIFFS/MOVANTS




                                CERTIFICATE OF CONFERENCE

           This is to certify that a conference via e-mail exchange and drafts of a proposed Agreed
  Protective Order on the injunctive relief sought concerning the privileges and access was held
  with opposing counsel from December 31 through today, January 4, 2022, and agreement on said
  relief could not be reached, at last as of this filing. As such, the request for temporary injunctive
  relief is submitted to the court for determination.



                                                /s/ Robert B. Wagstaff




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                                    CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the above and foregoing document was
  served on counsel for the Debtor, Eric J. Taube, Waller Lansden Dortch & Davis, 100 Congress
  Ave, Suite 1800, Austin, TX, 78701, via electronic mail eric.taube@wallerlaw.com, via
  electronic mail, and counsel for the Defendants, Katherine Walters, Richie & Gueringer PC, 100
  Congress Ave, Suite 1750, Austin, TX, 78701, via electronic mail kwalters@rg-austin.com, and
  the DEBTOR and any parties requesting notice herein, via the Court’s ECF noticing system, on
  this the 4th day of January, 2022.



                                             /s/ Robert B. Wagstaff




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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION



   In Re:                                                  Chapter 11

   Loadcraft Industries, Ltd.                              Case No. 21-11018-tmd-11

                   Debtors.


                                AFFIDAVIT OF TERRY MCIVER

            BEFORE ME, the undersigned authority, personally appeared TERRY MCIVER, who

   being duly sworn, deposed as follows:

            "My name is TERRY MCIVER. I am over 18 years of age, of sound mind and capable of
   making this Affidavit. I am the managing sole member of Brady Plant Operators LLC, the general
   partner of Debtor Loadcraft Industries, Ltd., and the managing member of Defendant Glider
   Products, LLC. I have also been the CEO of Debtor Loadcraft since November of 2019.
   Accordingly, the factual averments stated in this Affidavit are within my personal knowledge and
   are true and correct.
            "I have read Brady Plant Operators LLC's Complaint and Request for Declaratory
   Judgment and Emergency Motion for Injunctive Relief and the factual averments contained therein
   are true and correct. Further, the attached Exhibits "A" through "F" to the complaint are true and
   correct copies of these documents.
            Charles Hinkle was both CEO and CFO of Loadcraft from May of 2016 until November
   of 2019 and then continued as CFO until he abruptly left in early November of 2020 without notice.
   Further, in conjunction with the Alphonso Energy Ownership Agreement (Exhibit "A"), Charles
   Hinkle and Glorious Splendor Too LLC, a company related to Alphonso Energy LLC, were elected
   by me in my capacity as sole member of Brady Plant Operators LLC, as managers (along with
   myself) of Brady Plant Operators LLC, the general partner of Loadcraft Industries Ltd. In early
   2021, after Mr. Hinkle quit his role of CFO of Loadcraft Industries Ltd., I executed the November
   11, 2020 (effective date), removal of Charles Hinkle as a manager and replaced him with Grady


   Affidavit of Terry McIver                                                               Page 1 of 3
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   McIver (Exhibit "C"). Glorious Splendor Too LLC remained a manager as per the Alphonso
   Energy Ownership Agreement (Exhibit "A"). At no time since his abrupt departure and up to the
   time he executed the Corporate Resolution a few days ago (Exhibit "E") has Charles Hinkle even
   attempted to act as a manager or further the business of Loadcraft Industries Ltd. Just the opposite,
   he sued Loadcraft. Regardless, the filing of the bankruptcy petition and signature by Charles
   Hinkle as manager of Brady Plant Operators LLC were false, unauthorized and a gross
   misrepresentations of his status with Brady Plant Operators LLC and Loadcraft Industries Ltd.
           Further, Mr. Hinkle met with the employees of Loadcraft Industries Ltd Friday morning,
   December 31, 2021, and upon information and belief, he changed the locks and instructed Gary
   Weatherman, the VP of Engineering, to call the police if either myself or Lou Collazo, the CFO,
   showed up on Monday, January 3, 2022, at the Loadcraft Plant, obviously attempting to block our
   access to the plant, our offices and our computers. Further, upon information and belief, Mr. Hinkle
   instructed the IT person to access our computers and block our access. It is unclear what other
   instructions or access Mr. Hinkle is attempting or contemplating, but these computers, mine and
   Collazo's, along with Controller Kendra Oldham, contain many privileged communications by
   and between or at the direction of our lawyers in the state court litigation styled ALPHONSO
   ENERGY LLC, CHARLES HINKLE and NESTOR OUTCOMES LLC, Plaintiffs, v.
   LOADCRAFT INDUSTRIES LTD., TERRY MCIVER, AND GLIDER PRODUCTS, LLC,
   Defendants and Third-Party Plaintiff, CAUSE NO. D-1-GN-21-002825, 98th Judicial District
   Court, Travis County, and from the pre-litigation communications concerning strategy and
   possible resolution. Further, these computers and offices contain personal and confidential
   information, as well as confidential information on my other business interests and entities. Access
   to this information by Plaintiffs in the state court action and failing to allow me access would cause
   irreparable and immediate harm to me and to my interests, as well as DEBTOR Loadcraft and
   Glider Products in both the state court litigation and in other related business and personal interests.
           Yesterday, January 3, 2022, we received a new set of corporate resolutions from Alphonso
   Energy LLC, Nestor Outcomes LLC and Glorious Splendor LLC, attempting to remove Brady
   Plant Operators LLC as the general partner of DEBTOR Loadcraft Industries. (Exhibit "F") Again,
   their attempts to take over Loadcraft are misplaced under the terms of the Alphonso Agreement
   (Exhibit "A") and the Agreement of Limited Partnership of Loadcraft Industries Ltd., (Exhibit
   "B"), as they do not have the required votes from the limited partners and they then assert the same


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   claims that Hinkle's corporate resolution claimed, to wit, the right to fire me, lock me out, access
   my computer and personal information and take over DEBTOR Loadcraft's management and
   operations.
          The blocking of our access and the attempts to take over control of DEBTOR Loadcraft
   Industries will also cause immediate and irreparable harm due to ongoing business and contractual
   obligations, along with ongoing negotiations with third parties for several advantageous and
   lucrative contracts with DEBTOR Loadcraft. Neither Hinkle nor Alphonso have had anything to
   do with the day-to-day operations of DEBTOR Loadcraft and do not know what is happening,
   what contracts and obligations are in place or the current management of the business to be a
   Debtor-in-Possession, and certainly will not be in a position to continue negotiations on
   prospective business dealings. Each day that Hinkle and Alphonso are allowed to operate and
   manage the DEBTOR will cause additional financial and economic harm to the DEBTOR.
          Further Affiant sayeth not."



                                                      TERRY MCIV R, Sole Member of BRADY
                                                      PLANT OP    TORS LLC, General partner for
                                                      LOADCRAFT INDUSTRIES, LTD.



          SUBSCRIBED AND SWORN TO BEFORE ME on January 4, 2022, by Terry McIver.


                   uer SANDI ELIZABETH GREAVES                             )
                         Notary ID #129902499                 ary Public, State of Texas
                        My Commission Expires
                   ZE        July 30, 2022
          imoriewommosPimimmumormwoomPourompoormlik




   Affidavit of Terry McIver                                                                 Page 3 of 3
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                                OWNERSHIP OF INTEREST
                              AND OPERATIONS AGREEMENT

           This Agreement is made and entered into this      day of May, 2017, by and between Brady
   Plant Operators, L.L.C. (hereinafter referred to as "BPO"), Huntland Properties, Ltd. (hereinafter
   referred to as "Huntland"), Huntland Resources, L.L.C. (hereinafter referred to as "Resources"), J
   Bar T, Ltd (hereinafter referred to as "JBT"), Nestor Outcomes, LLC (hereinafter referred to as
   "Nestor"), Passerina Ciris, LLC (hereinafter referred to as "Passerina"), Alphonso Energy, LLC
   (hereinafter referred to as "Alphonso ") and Loadcraft Industries, Ltd (hereinafter referred to as
   "Loadcraft").

         Whereas, Huntland Properties, Ltd., Huntland Resources, L.L.C., J Bar T, Ltd, Nestor
   Outcomes, LLC , and Passerina Ciris, LLC are all the current limited partners in Loadcraft Industries,
   Ltd;

           Whereas, Brady Plant Operators, L.L.C. is the general partner of Loadcraft;

            Whereas, Alphonso desires to make an investment of capital into Loadcraft for a limited
    partner interest; and

          Whereas, it is the desire of all the parties to avoid confusion as to the ownership interest in
    Loadcraft owned by each party, to stipulate and agree to the various changes in ownership of
    Loadcraft and to agree on management and operational issues regarding Loadcraft.

           Now, Therefore, for and in consideration of the mutual promises and agreements contained
   herein, the parties do hereby stipulate and agree as follows:

           1.      As of August 18, 2016 until the present, the ownership of Loadcraft is as follows:

           Partner                                          Units                Ownership

           Brady Plant Operators, L.L.C.                      171                    .8075%

           Huntland Resources, L.L.C.                       7,257                 34.2924%

           Huntland Properties, Ltd.                        5,148                 24.3265%

           J Bar T, Ltd.                                    1,709                   8.0757%

           Nestor Outcomes, LLC                             4,761                 22.4979%

           Passerina Ciris, LLC                             2,116                 10.0000%

           Total                                          21,162                 100.0000%
                             A Z_;<45
           2.      On May 'fr./ , 2017 Alphonso will invest the sum of $2,400,000 into Loadcraft as
   a capital contribution for a 50% ownership interest in Loadcraft at a per unit cost of $226.82. At
   such time JBT agrees that its limited partner interest in Loadcraft is abandoned. In connection with
   the capital contribution the ownership interest of Huntland, Resources, Nestor and Passerina will be
   reduced. Accordingly as of May         , 2017and going forward and until changed the parties agree
   that the ownership of Loadcraft is stipulated and agreed to be as follows:

                                                        g,A
                                                EXHIBIT "A"
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            Partner                                           Units                Ownership
            Brady Plant Operators, L.L.C.                      171                     .8075%
            Huntland Resources, L.L.C.                       3,616                  17.0870%
            Huntland Properties, Ltd.                        2,566                  12.1253%
            Alphonso Energy, LLC                            10,581                  50.0000%
            Nestor Outcomes, LLC                             3,174                  15.0000%
            Passerina Ciris, LLC                             1,054                   4.9802%
            Total                                           21,162                 100.0000%
            New unit certificates will be issued as soon as possible.

            3.      As noted above, BPO is the general partner of Loadcraft. Terry McIver will obtain
    the resignation of Donald L. Barley and Raymond E. Jones, Jr. as managers of BPO. In their place
    Terry McIver, as sole member of BPO, will elect Charles Hinkle and Glorious Splendor Too, LLC
    as Managers of BPO to replace Donald L. Barley and Raymond E. Jones, Jr. The parties agree that
    Glorious Splendor Too, LLC shall remain a Manager of BPO so long as Alphonso is a limited
    partner.

            4.     The parties desire to provide for continuity of management of Loadcraft. The parties
    further acknowledge that Section 6.3 of the Loadcraft Partnership Agreement provides that Terry
    McIver will be paid a management fee as part of an employment agreement between he and
    Loadcraft. No formal management agreement has been entered into, instead he has historically been
    paid a fee equal to 10% of all partner's distributions. In order to provide for the management
    continuity as noted above, the parties agree to amend Section 6.3 of the Partnership Agreement to
    provide for a management fee for Terry McIver and an employment agreement for Charles Hinkle.
    The parties will negotiate the management fee agreement and the employment agreement in good
    faith and the agreements must be entered into no later than June 16, 2017. Notwithstanding the
    terms of the Partnership Agreement to the contrary, it is agreed that these agreements must be
    approved by the limited partners by unanimous vote of all limited partners.

            5.      Section 6.11 of the Partnership Agreement provides that the General Partner may be
    removed as General Partner upon a Majority in Interest vote of Limited Partners. In order to
    preserve the existing operational management decision making of Loadcraft the parties agree that
    said Section 6.11 will be amended to require the affirmative vote of a majority of the Limited
    Partners in order to remove and/or change the General Partner. Huntland and Resources will
    collectively be entitled to one vote and each other limited partner will be entitled to one (1) vote on
    this matter.

            6.      As part of the negotiations for the capital contribution by Alphonso the parties have
    agreed to the uses of and disbursement of such funds by Loadcraft. Accordingly the parties agree
    that the contribution by Alphonso will be disbursed and used for the purposes as listed on Exhibit
    A attached hereto.
            7.     Loadcraft currently owes money to various limited partners. It owes Nestor the sum
   of $75,000, Huntland the sum of $705,938.55 and Passerina the sum of $950,000. The parties agree
   that distributions to pay taxes not to exceed 40% of net profits will be made before repayment of the
   principal on the Nestor and Passerina debts. In order to avoid conflict the parties agree that the
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    limited partners must agree before this debt can be repaid. Notwithstanding the terms of the
    Partnership Agreement to the contrary, it is agreed that the debts to Nestor and Passerina cannot be
    paid unless the limited partners agree to pay these debts by vote. Huntland and Resources will
    collectively be entitled to one vote and each other limited partner will be entitled to one (1) vote on
    this matter with a majority necessary in order to make partial or full payment of these debts. With
    respect to the Huntland debt, this debt is documented with a promissory note requiring monthly
    payments. These monthly payments will continue as provided for in the note. However if Loadcraft
    is able to pay this debt in full the same requirement as stated above will be required. Interest
    payments on these debts will continue and will not require partner approval for payment thereof.

             8.       Loadcraft currently does not have any direct line of credit with a financial institution
    to use in its daily business operations. Instead Terry McIver has arranged a line of credit for an entity
    of his, Cornerstone Operating, L.L.C. with Citizens National Bank in Brownwood which is being
    used in effect as Loadcraft's line of credit. The parties agree that this liability of Loadcraft will be
    considered and treated as a bank obligation and not debt of Loadcraft owed to its owners, payment
    of which is addressed above in Paragraph 7.

            9.     The parties hereto agree that the Partnership Agreement will be amended in its
    entirety on or before December 31, 2017. All limited partners must agree to the changes in the
    Partnership Agreement.

            10.     The Stipulation of Interest portions of this Agreement shall contain such words of
    grant as are required to accomplish the above described results.

           11.     Each of the parties hereto ratifies and confirms the Agreement of Limited Partnership
    of Loadcraft Industries, Ltd. dated November         , 2004, except to the extent it conflicts with the
    terms of this Agreement.
           12.   New and replacement unit certificates will be issued to all parties after execution of
    this Agreement.

            13.     This Agreement shall be binding upon and shall inure to the benefit of the parties
    hereto and their respective executors, administrators, personal representatives, heirs, successors and
    assigns.

           14.      This Agreement shall be governed by and construed and enforced in accordance with
    the laws of the State of Texas.

          15.     Each of the parties hereto agrees to execute and deliver any and all further
    agreements, documents or instruments reasonably necessary to effectuate this Agreement.

            Executed and Effective as of the days and year above written.


                                          g
                                                                      Loadcraft Industries, Ltd.



                                                                 By
                                                                      T rry L      elver, President of
                                                                      Brady Plant Operators, L.L.C.,
                                                                      General Partner of
                                                                      Loadcraft Industries, Ltd.
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                                                     Brady Plant Operators, L.L.C.



                                               By
                                                     T     Lyn IZIVZIVe dent


                                                     Huntland Properties, Ltd.




                                                     Terry L    M ver, President o
                                                     Cornerstone Operating, L.L.C.,
                                                     General Partner of
                                                     Huntland Properties, Ltd.

                                                     Huntland Resources, L.L.C.



                                               By
                                                     Terry Lyn       Iver, President

                                                     J Bar T, Ltd.



                                               By                  A .Aaele            c
                                                     Donald L. Barley, President
                                                     KDLT Resources, L.L.C.,
                                                     General Partner of
                                                     J Bar T, Ltd.

                                                     Nestor a uttifim
                                                                    —es,



                                                Y.
                                                     Charles Hinkle,
                                                      o           an       anager

                                                     Alphonso Energy, LLC



                                               By
                                                     Brian Alphons , Manager
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                                                    Passerina Ciris, LLC



                                               By             art4i.)       P‘iti(e/t)
                                                    Ruth Ann McIver, President

                                                            to
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                                             AMENDMENT TO
                                         OWNERSHIP OF INTEREST
                                       AND OPERATIONS AGREEMENT

           This Amendment to Ownership of                ,t and Operations Agreement (hereinafter the
   "Amendment") is made and entered into this 'V\ day of May, 2017, by and between Brady Plant
   Operators, L.L.C. (hereinafter referred to as "BPO"), Huntland Properties, Ltd. (hereinafter referred to as
   "Huntland"), Huntland Resources, L.L.C. (hereinafter referred to as "Resources"), J Bar T, Ltd
   (hereinafter referred to as "JBT"), Nestor Outcomes LLC (hereinafter referred to as "Nestor"), Passerina
   Ciris, LLC (hereinafter referred to as "Passerina"), Alphonso Energy, LLC (hereinafter referred to as
   "Alphonso"), and Loadcraft Industries, Ltd (hereinafter referred to as "Loadcraft").

           Whereas, BPO, Huntland, Resources, JBT, Nestor, Passerina, Alpho          and Loadcraft entered
   into the Ownership of Interest and Operations Agreement dated May               <2017 (hereinafter, the
   "Agreement"), a copy of which is attached as the hereby incorporated Exhibit A;

            Whereas, the parties mutually intend and desire to amend the Agreement as set forth herein.

             Now, Therefore, for and in consideration of the mutual promises and agreements contained
    herein, the parties do hereby stipulate and agree as follows:

            I. As of the date first set forth above, the Agreement is amended to include the following
               provision:

            The parties agree that Alphonso shall have the option to require Loadcraft make an Internal
            Revenue Code section 754 election (754 election) when it files its 2017 limited partnership tax
            return. Prior to the filing of Loadcraft's 2017 tax return, the tax preparer shall request of
            Alphonso whether it wants to have Loadcraft make the 754 election. Alphonso shall respond by
            ernuil or letter about its decision to the tax preparer within 30 days of receipt of the request.

            2.   In the event of any conflict or inconsistency between the terms of this Amendment and the
                 terms of the Agreement, the terms of this Amendment shall take precedence.

            Executed and Effective as of the day and year first above written.

                                                                    Loadcraft Industries, Ltd.

                                                                    By:
                                                                    Terry Lynn cl r, President of Brady
                                                                    Plant Operators, L.L.C., General Partner
                                                                    of Loadcraft Industries, Ltd.



                                                                    Brady Plant Operators, L.L.C.

                                                                    By:
                                                                    Terry Lyn Mc er, President




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                                                        Huntland Properties, Ltd.

                                                        By:
                                                        Terry Lyrin McIver, President of
                                                        Cornerstone Operating, L.L.C., General
                                                        Partner of El untland Properties, Ltd.



                                                        Huntland Resources, L.L.C.

                                                        By:
                                                        Terry Lynn      cl 'er, Pres! ent



                                                        J Bar T, Ltd.
                                                                                  /)
                                                        By:             (e, 4 I 2114eAn
                                                        Donald L. Barley, President of mai
                                                        Resources, L.L.C., General Partner of J
                                                        Bar T, Ltd.



                                                        Nestor Ou       mes, LLC

                                                        By:          r.
                                                        Ch es Hinkle, Sole Member and
                                                        Ma er



                                                        Alphonso Energy, LLC

                                                        By:
                                                        Brian Alphonso, Ma : _er
                                                                                            /2&

                                                        Passerina Ciris, LLC

                                                        By:                                   o
                                                        Ruth Ann McIver, President




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                                                  EXHIBIT A
                                Ownership of Interest and Operations Agreement

                                                [Immediately Follows.]




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                          AGREEMENT OF LIMITED PARTNERSHIP
                                         OF
                             LOADCRAFT INDUSTRIES, LTD.


            This Agreement of Limited Partnership of LOADCRAFT INDUSTRIES, LTD. (the
    "Agreement") is made and entered into by and among BRADY PLANT OPERATORS,
    L.L.C., a Texas limited partnership (the "General Partner" or "BPO"), HEARTLAND
                                                                             Til) HUNTLAND
                                       ("Heartland"). J BAR T, LTD. ("J Bar T')
    INVESTMENT PARTNERS, LTD. ("Heartland"),
    RESOURCES,       L.L.C.. ("Huntland Resources") HUNTLAND PROPERTIES,
    RESOURCES. L.L.C.,                                                 PROPERTIES. LTD.
    ("Huntland Properties") and WINDOW OPERATING, LTD. ("Window"), as limited
    partners (the "Limited Partners"). The General Partner and the Limited Partners are also
    hereinafter sometimes referred to as a "Partner" in the singular or the "Partners" in the
    plural.


                                            RECITALS

           KDLT                      ("KDLT") was the initial general partner of the Partnership.
           KDL T Resources, L.L.C. ("KDLT")
    After the initial formation, KDLT
                                 KDL T assigned its interest as general partner to BPO. For
    purposes herein, BPO will be considered the General Partner.

           The Partners desire to form an entity for purposes of acquiring the certain assets
    of HRI Oilfield, L.P., at Texas limited partnership ("HRI"), Heartland Rig International, LLC,
    a Texas limited liability company ("International"), Heartland Intermodal, Inc., a Delaware
    corporation ("Intermodal"), and Partech, LLC, a Louisiana limited liability company,
    ("Partech") (collectively "Sellers") covered by that certain Asset Purchase Agreement
    between Sellers and Huntland Resources, and consolidating the ownership of certain
    properties owned by the Partners in order to provide for a more efficient means of handling
    the ownership and management of such properties and in order to enhance the value of
    such properties in the future. Also, in order to provide for the centralized management of
    the Partnership and the ongoing management and control of the Partnership upon the
    death or incapacity of a family member, the parties desire to set forth provisions for the
    appointment
    appOintment of a successor general partner if the General Partner fails or ceases to serve
    as General Partner.


                                           AGREEMENT

          NOW, THEREFORE, in consideration of the foregoing Recitals and the mutual
    covenants and agreements contained herein, the Parties agree as follows:




                                             EXHIBIT "B"
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                                            ARTICLE I

                                            Formation


          Section 1.1. Formation. The parties hereby form a limited partnership (the
    "Partnership"), under and pursuant to the Texas Revised Limited Partnership Act, Article
    6132a-1 of the Revised Civil Statutes of the State of Texas (the "Act").
    6132a-1

           Section 1.2. Name. The name of the Partnership is "LOADCRAFT INDUSTRIES,
    LTD." The business of the Partnership shall be conducted in the name of the Partnership
    unless under the law of some jurisdiction in which the Partnership does business such
    business is required to be conducted under another name. In such a case, the business
    of the Partnership in such jurisdiction may be conducted under such other name or names
    as the General Partner may select.

           Section 1.3. Purpose. The Partnership is hereby formed for the purpose of
    acquiring assets, manufacturing and selling oilfield drilling equipment and other heavy
    machinery, and such other purposes as may be agreed upon by the Partners from time to
    time.

         Section 1.4. Registered Office and Registered Agent; Principal Place of
    Business.

           (a)     The registered office of the Partnership required by the Act to be maintained
    in the State of Texas shall be the initial registered office named in the Certificate or such
    other office (which need not be a place of business of the Partnership) as the General
    Partner may designate from time to time in the manner provided by the Act. The registered
    agent of the Partnership in the State of Texas shall be the initial registered agent named
    in the Certificate or such other Person or Persons as the Managers may designate from
    time to time in the manner provided by the Act.

          (b)   The principal place of business of the Partnership shall be3811
                                                                         be3811 N. Bridge,
    Brady, Texas 76825, or at such other location designated by the General Partner.

            Section 1.5. Foreign Qualification. Prior to the Partnership's conducting business
    in any jurisdiction other than Texas, the Partnership shall comply, to the extent procedures
    are reasonably available, with all requirements necessary to qualify the Partnership as a
    foreign limited partnership in such jurisdiction. At the request of the General Partner, each
    Partner agrees to execute, acknowledge, swear to, and deliver all certificates and other
    instruments conforming with this Agreement that are necessary or appropriate to qualify,
    continue, and terminate the Partnership as a foreign limited partnership in all such

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    jurisdictions in which the Partnership may conduct business.

            Section 1.6. Term. The Partnership commenced on the date the Certificate was
    filed with the Secretary of State of Texas and shall continue in existence until it is dissolved
    and terminated in accordance with the terms hereof.


                                             ARTICLE II

                                    Definitions and References

           Section 2.1.       Definitions. In addition to the terms defined elsewhere herein,
    when used in this Agreement, the following terms shall have the respective meanings
                                     2.1 or in the sections or other subdivisions referred to
    assigned to them in this Section 2.1
    below:

           "Adjusted Capital Account" shall mean the capital account maintained for each
    Partner as provided in Section 7.4, (a) increased by (i) the amount of any unpaid Capital
    Contributions agreed to be contributed by such Partner under Article IV, if any, and (ii) an
    amount equal to such Partner's allocable share of Minimum Gain as computed on the last
    day of such fiscal year in accordance with the applicable Treasury Regulations, and (b)
    decreased by the adjustments provided for in Treas. Reg. § 1.704-1(b)(2)(ii)(d)(4)-(6).
                                                                   1.704-1 (b)(2)(ii)(d)(4)-(6).

           "Affiliate" shall mean, when used with respect to a Person, any Person directly or
    indirectly controlling, controlled by or under common control with such Person. For
    purposes of this definition, the terms "controlling, controlled by or under common
    control" shall mean the possession,
                              posseSSion, directly or indirectly, of the power to direct or cause
    the direction of management or policies (whether through ownership of securities or any
    partnership or other ownership interest, by contract or otherwise) of a Person.

         "Agreement" shall mean this Agreement of Limited Partnership, as hereafter
    amended, modified or changed in accordance with the terms hereof.

           "Capital Contribution" shall mean, for any Partner at the particular time in
    question, the aggregate of the dollar amounts of any cash contributed to the capital of the
    Partnership and the fair market value of any property contributed to the capital of the
    Partnership, or, if the context in which such term is used so indicates, the dollar amounts
    of cash and the fair market value of any property agreed to be contributed, or requested
    to be contributed, by such Partner to the capital of the Partnership.

           "Certificate" shall mean the Certificate of Limited Partnership filed by the
     Partnership with the Texas Secretary of State,
                                             State. as amended or restated from time to time.

            "Dispose" (including the correlative terms "Disposed" or "Disposition") shall

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    mean any sale, assignment, transfer, exchange, conveyance, gift, pledge, mortgage,
    hypothecation or other encumbrance or any other disposition, whether voluntary,
    involuntary or by operation of law.

             "General Partner" shall mean Brady Plant Operators, L.L.C., a Texas limited
    liability company, and any Person or entity who becomes a substituted General Partner
    pursuant to the terms hereof.

          "Guaranty Obligations" shall mean the obligations of Heartland, or its affiliates or
    partners, to guarantee the Working Capital Loan (as hereinafter defined).

         "Internal Revenue Code" shall mean the Internal Revenue Code of 1986, as
    amended from time to time, and any successor statute or statutes.

           "Liquidation Amount" shall have the meaning assigned to such term in Section
           5.2.

           "Limited Partners" shall mean Heartland, J\01 Bar T, Huntland Properties, Huntland
    Resources, Window and any Person or entity who becomes an additional or substituted
    Limited Partner pursuant to the terms hereof.

         "Managers", "Board of Directors" "Board" or "Directors" shall mean the
    Managers, or other governing body of the General
                                             GEWIeral Partner.

          "Minimum Gain" shall have the meaning assigned to that term in Treasury
    Regulation section 1.704-2(d) and section 1.704-2(i)(3), as applicable.

           "Partner" shall mean the General Partner or a Limited Partner, but such term does
    not include any Person who has ceased to be a Partner.

          "Partner Nonrecourse Debt" shall have the meaning assigned to the term "partner
    nonrecourse debt" in Treasury Regulation section 1.704.2(b)(4).

           "Partner Nonrecourse Deductions" shall have the meaning assigned to the term
    "partner nonrecourse deductions" in Treasury Regulation section 1.704-2(i).

            "Partnership Nonrecourse Liabilities" shall have the meaning assigned to the
     term "nonrecourse liabilities" in Treasury Regulation section 1.752-1(a)(2).
                                                                   1.752-1 (a)(2).

           "Person" shall have the meaning assigned to it in Section 1.02 of the Act.

            "Property" shall mean all those certain assets purchased from Sellers pursuant to
     that certain Asset Purchase Agreement dated November 18, 2004 between Huntland
     Resources and Sellers.

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           "Purchase Loans" shall mean the promissory notes, security agreements, and
                                               HRI as administrative agent for Sellers, to the
    other documents related to the loan from HR1
    Partnership as a part of the purchase price for the Property.

          "Treasury Regulations" (or any abbreviation thereof used herein) shall mean
    temporary or final regulations promulgated under the Internal Revenue Code.

           "Unit Sharing Percentage" shall mean as to any Partner, the percentage obtained
    by dividing the number of Units owned by such Partner by the total number of Units issued
    and outstanding at the time in question, subject to the provisions of Section 3.3.

           "Working Capital Loan" shall mean the Loan Agreement, promissory notes,
    security agreements, guaranty agreements and other documents related to the loan from
    Community National Bank to the Partnership to fund the working capital needed for
    operations.

           Section 2.2.    References and Construction.

            (a)   All references in this Agreement to articles, sections, subsections and other
    subdivisions refer to corresponding articles, sections, subsections and other subdivisions
    of this Agreement unless expressly provided otherwise.

          (b)    Titles appearing at the beginning of any of such subdivisions are for
    convenience only and shall not constitute part of such subdivisions and shall be
    disregarded in construing the language contained in such subdivisions.

           (c)   The words "this Agreement", "this instrument", "herein", "hereof',
    "hereby","hereunder" and words of similar import refer to this Agreement as a whole and
    not to any particular subdivision unless expressly so limited.

           (d)   Words in the singular form shall be construed to include the plural and vice
    versa, unless the context otherwise requires.

          (e)      Examples shall not be construed to limit, expressly or by implication, the
    matter they illustrate.

          (f)   The word "or" is not exclusive and the word "includes" and its derivatives shall
    mean "includes, but is not limited to" and corresponding derivative expressions.

          (g)     No consideration shall be given to the fact or presumption that one party had
    a greater or lesser hand in drafting this Agreement.

           (h)    All references herein to "$" or "dollars" shall refer to U.S. Dollars.



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          Unless the context otherwise requires or unless otherwise provided herein, the
    terms defined in this Agreement which refer to a particular agreement, instrument or
    document shall also refer to and include all renewals, extensions, modifications,
    amendments or restatements of such agreement, instrument or document, provided that
    nothing contained in this subsection shall be construed to authorize such renewal,
    extension, modification, amendment or restatement.

          Each Exhibit attached hereto is incorporated herein by reference and made a part
    hereof for all purposes and references to this Agreement shall also include such Exhibit
    unless the context in which used shall otherwise require.


                                            ARTICLE III

                                        Partners and Units

                   3.1 Partners. The Partners of the Partnership are set forth in Exhibit 3.1.
           Section 3.1                                                                    3.1 .

           Section 3.2.     Units.

           (a) The Partnership shall have one class of Partnership interests consisting of
    100,000 authorized common Partnership interests, which shall be referred to herein as
    "Units",
    "Units".

          (b) Initially, as specifically set forth on Schedule 3.2(c), in consideration of the
    Capital Contributions made by the Partners, the Partnership shall issue 100 Units to
    General Partner, 3,000 Units to Huntland Resources, 900 Units to Huntland Properties,
    4,500 Units to Heartland, 500 Units to Window and 1,000 Units to ..IJ Bar T.

           (c)     Exhibit 3.2(c) sets forth the number of Units owned by each Partner after
    giving effect to the transactions contemplated by subsection (b) above.

            (d)    Ownership of Units shall be evidenced by certificates (in this Section, "Unit
    Certificates"). Unit Certificates representing Units shall be in the form of Exhibit 3.2(d),
                                                                                             3.2(d).
    The Partnership shall issue one or more Unit Certificates to each Partner, which Unit
    Certificates need not bear a seal of the Partnership,
                                              Partnership. but shall be signed by an officer of the
    General Partner or other Person authorized to sign such Unit Certificates by the General
    Partner certifying the number and series of Units represented by such certificate. The Unit
    Certificates shall be consecutively numbered and shall be entered in the books of the
    Partnership as they are issued and shall exhibit the holder's name and number of Units.
    The General Partner may determine the conditions upon which a new Unit Certificate may
    be issued in place of a Unit Certificate that is alleged to have been lost, stolen or destroyed
    and may, in its discretion, require the owner of such Unit Certificate or its legal
    representative to give bond, with sufficient surety, to indemnify the Partnership and each

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    transfer agent and registrar against any and all losses or claims that may arise by reason
                             Unit Certificate in the place of the one so lost, stolen or destroyed.
    of the issuance of a new Unit
    Each Unit Certificate shall bear a legend on the reverse side thereof substantially in the
    following form:

           THIS SECURITY HAS NOT BEEN REGISTERED UNDER THE
           SECURITIES ACT OF 1933, AS AMENDED (THE "SECURITIES ACT"),
           AND MAY NOT BE OFFERED OR SOLD, UNLESS IT HAS BEEN
           REGISTERED UNDER THE SECURITIES ACT OR UNLESS AN
           EXEMPTION FROM REGISTRATION IS AVAILABLE (AND, IN SUCH
           CASE, AN OPINION OF COUNSEL REASONABLY SATISFACTORY TO
           THE PARTNERSHIP SHALL HAVE BEEN DELIVERED TO THE
           PARTNERSHIP TO THE EFFECT THAT SUCH OFFER OR SALE IS NOT
           REQUIRED TO BE REGISTERED UNDER THE SECURITIES ACT). THIS
           SECURITY IS SUBJECT TO CERTAIN RESTRICTIONS ON TRANSFER
           AND OTHER TERMS AND CONDITIONS SET FORTH IN THE
           AGREEMENT OF LIMITED PARTNERSHIP OF THE PARTNERSHIP,
           DATED AS OF NOVEMBER _,, 2004 (AS SUCH AGREEMENT MAY BE
           AMENDED FROM TIME TO TIME), A COPYCOpy OF WHICH MAY BE
           OBTAINED FROM THE PARTNERSHIP AT ITS PRINCIPAL EXECUTIVE
           OFFICES.

           Section 3.3 Heartland's Additional Units. While the Partnership is initially
    issuing 45% of the Partnership Units to Heartland in exchange for its Capital Contribution,
    the Partners acknowledge that Heartland, by and through its partners, is guaranteeing the
    Working Capital Loan. In consideration for its Guaranty Obligations, Heartland shall be
    entitled to receive additional Partnership Units based on the length of time the guarantees
    are outstanding. The method for determining the additional Units to be issued is set forth
    below, with these amounts reflected in the schedule attached as Exhibit 3.3.

            (a) If Heartland is removed from its Guaranty Obligations on or before six (6)
     months following execution of the documents related to the Working Capital Loan,
     Heartland shall be issued an additional 1,110 Units of the Partnership, bringing its
     Partnership Sharing Ratio to 50.5%, with such Additional Units to be issued effective as
     of the execution of the Guaranty Obligations; and

           (b) If Heartland is removed from its Guaranty Obligations after six (6) months but
     on or before twelve (12) months following execution of the documents related to the
     Working Capital Loan, Heartland shall be issued an additional 1,390 Units of the
     Partnership, with such Additional Units to be issued effective as of the beginning of the
     seventh month following execution of the Guaranty Obligations, bringing its Partnership
     Sharing Ratio to 56%; and



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                      (c) If Heartland is removed from its Guaranty Obligations after twelve (12) months
               following execution of the documents related to the Working Capital Loan, Heartland shall
                                          1!785 Units of the Partnership, with such Additional Units to be
               be issued an additional 1,785
               issued effective as of the beginning of the thirteenth month following execution of the
               Guaranty Obligations, bringing its Partnership Sharing Ratio to 61.5%.

                     Section 3.4. Additional Partners. Additional Persons may be admitted to the
               Partnership as Partners as provided more specifically herein.

                      Section 3.5. Withdrawal of General Partner. The General Partner shall not have
                                                                Partnership. except as provided in Section
               the right to withdraw, resign or retire from the Partnership,
               6.4.


                                                      ARTICLE IV

                                                Capital Contributions

                     Section 4.1. Initial Capital Contributions. The initial capital to be contributed by
               each Partner is set forth in Section 3.2 hereof.

                      Section 4.2 Additional Capital Contributions. The Partners shall not be required
               to make any additional capital contributions. The Limited Partners and the General Partner
.",,---,       may make, but shall not be obligated to make, such additional cash or non-cash
               contributions as approved by the General Partner. In the event such additional capital
               contributions are approved by the General Partner, each Partner shall have the right to
               make such additional capital contributions sufficient to maintain the Partners' Unit Sharing
               Percentages in the same proportions as prior to the additional capital contribution. At the
               time of any additional contributions, the fair market value of any non-cash contributions
               shall be determined by the General Partner, and the Unit Sharing Percentages shall be
               adjusted as determined by the General Partner to take into account such additional
               contributions.

                       Section 4.3 Interest on Capital Accounts. No Partner shall receive any interest
                on his or her capital contributions to the Partnership.

                                                       ARTICLE V

                                             Allocations and Distributions

                      Section 5.1.     Allocations.
                                       Allocations.

                       (a) Except as otherwise provided in Section 5.2 or as may be required by
                section 704(c) of the Internal Revenue Code and Treasury Regulation Section 1.704-
                                                                                            1.704­


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     (b )(2)(iv)(f)(4), all items of income, gain, loss, deduction and credit of the Partnership shall
    1(b)(2)(iv)(f)(4),                                                                           shall
    be allocated among the Partners in proportion to their Unit Sharing         Percentages.

           (b)                                                                    5.1 to the
                  Notwithstanding any of the foregoing provisions of this Section 5.1
    contrary:

                  (i)    If during any fiscal year of the Partnership there is a net increase in
           Minimum Gain attributable to a Partner Nonrecourse Debt that gives rise to Partner
           Nonrecourse Deductions, each Partner bearing the economic risk of loss for such
           Partner Nonrecourse Debt shall be allocated items of Partnership deductions and
           losses for such year (consisting first of cost recovery or depreciation deductions with
           respect to property that is subject to such Partner Nonrecourse Debt and then, if
           necessary, a pro rata portion of the Partnership's other items of deductions and
           losses, with any remainder being treated as an increase in Minimum Gain
           attributable to Partner Nonrecourse Debt in the subsequent year) equal to such
           Partner's share of Partner Nonrecourse Deductions, as determined in accordance
           with applicable Treasury Regulations.

                   (ii)   If for any fiscal year of the Partnership there is a net decrease in
            Minimum Gain attributable to Partnership Nonrecourse Liabilities, each Partner shall
            be allocated items of Partnership income and gain for such year (consisting first of
            gain recognized from the disposition of Partnership property subject to one or more
            Partnership Nonrecourse Liabilities and then, if necessary, a pro rata portion of the
            Partnership's other items of income and gain, and then, if necessary, for
            subsequent years) equal, to such Partner's share of such net decrease (except to
            the extent such Partner's share of such net decrease is caused by a change in debt
            structure with such Partner commencing to bear the economic risk of loss as to all
            or part of any Partnership Nonrecourse Liability or by such Partner contributing
            capital to the Partnership that the Partnership uses to repay a Partnership
            Nonrecourse Liability), as determined in accordance with applicable Treasury
            Regulations.

                   (iii)   If for any fiscal year of the Partnership there is a net decrease in
            Minimum Gain attributable to a Partner Nonrecourse Debt, each Partner bearing the
            economic risk of loss for such Partner Nonrecourse Debt shall be allocated items
            of Partnership income and gain for such year (consisting first of gain recognized
            from the disposition of Partnership property subject to Partner Nonrecourse Debt,
            and then, if necessary, a pro rata portion of the Partnership's other items of income
            and gain, and if necessary, for subsequent years) equal to such Partner's share of
            such net decrease (except to the extent such Partner's share of such net decrease
            is caused by a change in debt structure or by the Partnership's use of capital
            contributed by such Partner to repay the Partner Nonrecourse Debt) as determined
            in accordance with applicable Treasury Regulations.

           (c)   The losses and deductions allocated pursuant to this Article V shall not
     exceed the maximum amount of losses and deductions that can be allocated to a Partner

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                                                                                          Account.
                                                                Partners Adjusted Capital Account.
    without causing or increasing a deficit balance in the Partner's
                          'fiscal year, as a result of the allocations otherwise provided for in this
    If, at the end of any fiscal
    Section 5. 1. the Adjusted Capital Account balance of any Partner shall become negative,
    items of deduction and loss otherwise allocable to such Partner for such year, to the extent
    such items would have caused such negative balance, shall instead be allocated to
    Partners having positive Adjusted Capital Account balances remaining at such time in
    proportion to such balances.

            (d)    If a Partner unexpectedly receives any adjustment, allocation or distribution
                                                     1.704-1 (b)(2)(ii)(d)(4 )-(6) that causes or
    described in Treasury Regulations section 1.704-1(b)(2)(ii)(d)(4)-(6)
                                               Partners Adjusted Capital Account, items of
    increases a deficit balance in such Partner's
    Partnership income and gain shall be allocated to that Partner in an amount and manner
    sufficient to eliminate the deficit balance as quickly as possible.

            (e)     The allocations set forth in subsections (b), (c) (last sentence), and @     f)
     (collectively, the  "Regulatory   Allocations")     are   intended   to comply   with  certain
     requirements of the Treasury Regulations. It is the intent of the Partners that, to the extent
     possible, all Regulatory Allocations that are made be offset either with other Regulatory
     Allocations or with special allocations pursuant to this Section 5.1(e). Therefore,
                                            this Article V (other than the Regulatory Allocations),
                                         ofthis
     notwithstanding any other provision of
     the General Partner shall make such offsetting special allocations in whatever manner it
     determines appropriate so that, after such offsetting allocations are made, each Partner's
     Adjusted Capital Account balance is, to the extent possible, equal to the Adjusted Capital
     Account balance such Partner would have had if the Regulatory Allocations were not part
     of this Agreement and all Partnership items were allocated pursuant to the remaining
     sections of this Article V.

            (f)    In accordance with Section 704(c) of the Internal Revenue Code and the
     Treasury Regulations thereunder, income and deductions with respect to any property
     carried on the books of the Partnership at an amount that differs from such property's
     adjusted tax basis shall, solely for federal income tax purposes, be allocated among the
     Partners in a manner to take into account any variation between the adjusted tax basis of
     such property to the Partnership and such book value. In making such allocations, the
     General Partner shall use such method of curative allocations as it may select pursuant
     to Treasury Regulations Section 1-704-3.

            (g)   All items of income, gain, loss, deduction and credit allocable to any Units
     that may have been transferred shall be allocated between the transferor and the
     transferee based on the portion of the calendar year during which each was recognized as
     owning those Units, without regard to whether cash distributions were made to the
     transferor or the transferee during that calendar year; provided, however, that this
     allocation must be made in accordance with a method permissible under section 706 of the
     Internal Revenue Code and the applicable Treasury Regulations.

            Section 5.2. Special Allocations. There shall be no special allocations.


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           Section 5.3. Distributions in Respect of the Units.

          (a)     The Partnership may make distributions of cash or other properties to the
    Partners in respect of the Units from time to time as determined by the General Partner in
    accordance with the terms hereof.

            (b)    Each Partner shall be entitled to receive a share of each distribution made
     to the Partners under this Section 5.3 determined as follows:

                   (i)     first, to the Partners in proportion and to the extent necessary to cause
            the cumulative distributions to them pursuant to Section 5.4 and this Section
            5.3(b)(i) to be in accordance with their respective Unit Sharing Percentages; and

                  (ii)  thereafter, to the Partners in accordance with their respective Unit
            Sharing Percentages.

             Section 5.4. Tax Distributions. Notwithstanding Section 5.2 and 5.3, as soon as
     conveniently possible after the end of each taxable period of the Partnership (but in no
     event sooner than the time the Partnership's accountants have determined the
     Partnership's income, gains, deductions, losses and credits for such taxable period with
     reasonable accuracy) cash distributions shall be made to the Partners in proportion to and
     to the extent of their respective Presumed Partnership Tax Liabilities to the extent sufficient
     cash reserves are available, as determined by the General Partner. For purposes of this
     Section 5.4, "Presumed Partnership Tax Liability" shall, as to each Partner for any given
     taxable period of the Partnership, be deemed to be equal to the product of (a) the excess,
     if any, of (i) the amount of the income and gain items reported or reportable on such
     Partner's
     Partners Schedules K-1   K-1 (IRS Form 1065) with respect to the Units of the Partnership for
     such taxable period over (ii) the sum of the deduction and loss items reported or reportable
     on such Schedules K-1   K-1 for such taxable period and (b) the maximum effective federal
     individual income tax rate (as determined by the Partnership's accountants).

           Section 5.5. Payment of Cash Distributions. Unless waived in writing by a
     Partner, payment of all cash distributions to the Partners under this Agreement shall be
     made by check.

                                             ARTICLE VI

                Management/Governance Provisions; Liability, Limitations and
                              Activities of Limited Partners

            Section 6.1. Power and Authority of the General Partner. Subject to the terms
     hereof, the General Partner shall have the sole and exclusive power and authority to
     manage the business of the Partnership and shall have all of the rights and powers which
     may be possessed by general partners under the Act, including, without limitation, the right
     and power to:

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'---"             (a)    acquire by purchase, lease or otherwise any property which may                  be
            necessary, convenient or incidental to the accomplishment of the purposes of                the
            Partnership;

                  (b)    operate, maintain, finance, improve, own, sell, convey, assign, mortgage and
            lease any property necessary, convenient or incidental to the accomplishment of the
            purposes of the Partnership;

                    (c)    make and execute any and all agreements, contracts, promissory notes, loan
            agreements, security agreements, financing statements, collateral pledges, trust deeds,
            mortgages, deeds, easements, affidavits, leases, assignments, bills of sale, contracts,
            certifications, and other instruments necessary or convenient in connection with the
            acquisition, disposition, encumbrance, development, management, maintenance, and
            operation of any Partnership property, or in connection with managing the affairs of the
            Partnership, including executing amendments to this Agreement and the Certificate in
            accordance with the terms of this Agreement, pursuant to any power of attorney granted
            by the Limited Partners to the General Partner;

                  (d)     borrow money from third parties, the General Partner or any Limited Partner
            and issue evidences of indebtedness necessary, convenient or incidental to the
            accomplishment of the purposes of the Partnership, and secure the same by mortgage,
            pledge, or other lien on any Partnership property;

                     (e)   prepay in whole or in part, refinance, increase, modify or extend any liabilities
             affecting Partnership property and in connection therewith execute any extensions or
             renewals of encumbrances on any Partnership property;

                    (f)      care for and distribute funds to the Partners by way of cash, income, return
             of capital or otherwise, all in accordance with the provisions of this Agreement, and perform
             all matters in furtherance of the objectives of the Partnership and this Agreement;

                    (g)   contract on behalf of the Partnership for the employment and services of
             employees and/or independent contractors (which may include any Partner or an Affiliate
             of any Partner),
                    Partner). such as managers, advisors, lawyers and accountants, and delegate to
             such Persons the duty to manage or supervise any of the assets or operations of the
             Partnership;

                   (h)    engage in any kind of activity and perform and carry out contracts of any kind
             necessary or incidental to.
                                     to, or in connection with, the accomplishment of the purposes of
             the Partnership,
                 Partnership. as may be lawfully carried on or performed by a partnership under the
             laws of each state in which the Partnership is then formed or qualified;

                    (i)   take, or refrain from taking, all actions not expressly proscribed or limited by
             this Agreement, as may be necessary or appropriate to accomplish the purposes of the
             Partnership;


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           m(j)    institute, prosecute, defend, settle, compromise and dismiss lawsuits or other
    judicial or administrative proceedings brought   by or on behalf of, or against, the Partnership
                                            broughtbyoron
    or the Partners in connection with activities arising out of, connected with, or incidental to
    this Agreement, and to engage counsel      or others in connection therewith.
                                       counselor

           Section 6.2      Right to Rely on General Partner. Any Person dealing with the
     Partnership may rely (without duty of further inquiry) upon a certificate signed by the
     General Partner as to:

           (a)     the identity of the General Partner;

           (b)    the existence or nonexistence of any fact or facts which constitute a condition
                                                            orfacts
     precedent to acts by a General Partner; or

          (c)     the Persons who are authorized to execute and deliver any instrument or
     document of the Partnership.

            The signature of an executive officer or other comparable representative of the
     General Partner shall be necessary and sufficient to convey title to any property owned by
     the Partnership or to execute any promissory notes, loan agreements, security
     agreements, financing statements, collateral pledges, trust deeds, mortgages, deeds,
     easements, contracts, certificates, affidavits, leases, assignments or other instruments of
     any kind.

            Section 6.3        Management fee.        The Partnership shall pay to Terry McIver,
                                                                                         Mciver,
     for serving as the President of the General Partner, as a guaranteed payment pursuant to
     Section 707 of the Internal Revenue Code, a management fee in an amount set forth in
     an employment agreement to be agreed upon by the Partnership and a majority of the
     Board of Directors of the General Partner, subject to annual review by the Board of
     Directors.

            Section 6.4 Duties and Obligations of General Partner.

            (a)     The General Partner shall take all actions which may be necessary or
     appropriate (i) for the continuation of the Partnership's valid existence as a limited
     partnership under the laws of the State of Texas (and of each other jurisdiction in which
     such existence is necessary to protect the limited liability of the Limited Partners or to
     enable the Partnership to conduct the business in which it is engaged), (ii) for the
     accomplishment of the Partnership's purposes, including the acquisition, development,
     maintenance, preservation, and operation of any Partnership property in accordance with
     the provisions of this Agreement and applicable laws and regulations (iii) to comply in all
     material respects with the terms and provisions of all agreements to which the Partnership
     is a party or to which its properties are subject, (iv) to comply in all material respects with
     all applicable laws to which the Partnership is subject (including all applicable federal, state
     and local environmental laws), and (v) to obtain and maintain all licenses, permits,
     franchises, and other governmental authorizations required to be obtained and maintained
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    by the Partnership with respect to the ownership of Partnership properties and the conduct
    by                                                                                 conduct
    of Partnership business and operations.

           (b)    The General Partner shall be under a fiduciary duty to conduct the affairs of
    the Partnership in the best interests of the Partnership and of the Limited Partners,
    including the safekeeping and use of all Partnership property and the use thereof for the
    exclusive benefit of the Partnership.

           Section 6.5 Liability of Limited Partners. No Limited Partner shall be liable for
    the debts, liabilities, contracts or other obligations of the Partnership except (a) to the
    extent of any unpaid Capital Contributions agreed to be made by such Limited Partner to
    the Partnership, (b) to the extent of such Limited Partner's share of the assets (including
    undistributed revenues) of the Partnership and (c) except as otherwise provided in the Act.

            Section 6.6 Limitations on Limited Partners. Except as otherwise expressly
    provided herein, no Limited Partner, in its capacity as a limited partner of the Partnership,
    shall: (a) be permitted to take part in the business or control of the business or affairs of
    the Partnership; (b) have any voice in the management or operation of any Partnership
    property; or (c) have the authority or power to act as agent for or on behalf of the
    Partnership or any other Partner, to do any act which would be binding on the Partnership
    or any other Partner, or to incur any expenditures on behalf of or with respect to the
    Partnership; provided, that the foregoing shall not preclude the Affiliates or designees of
    a Limited Partner from serving on the Board of Directors of the General Partner and
                             rights accorded to a Director of the General Partner by law, this
    exercising any and all lights
    Agreement and the articles of incorporation and bylaws of the General Partner.

          Section 6.7.Certain Agreements Regarding the Board of Directors of General
    Partner.

            (a)    From and after the date hereof, the Board of Directors(or other governing
     body) of the General Partner shall be composed of five (5) individuals. Heartland shall
     have the right to designate
                       deSignate three individuals to serve on the Board of Directors. Huntland
     Resources and Huntland Properties (jointly)
                                              Oointly) shall have the right to designate
                                                                                   desjgnate two
     individuals to serve on the Board of Directors. The initial designees to the Board, as
     prescribed by the foregoing provisions of this subsection (a), are set forth in Exhibit 6.7.
     Immediately after the execution and delivery of this Agreement by the parties hereto, the
     Board of Directors of the General Partner shall be composed of such designees, each of
     whom shall serve until his successor is duly selected and qualified or until such individual's
     death, resignation
             reSignation or removal.

            (b)  Directors will not be paid any fee for serving as Directors but will be entitled
     to reimbursement for reasonable out-of-pocket expenses in attending meetings of the
     Board.



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                   6.B. Removal of Directors. Any Director may be removed as a Director
           Section 6.8.
    at any time and from time to time, with or without cause, by the Partner who designated
    such Director to serve on the Board. Except as provided in the immediately preceding
    sentence, a Director may not be removed.

            Section 6.9. Vacancies. If   If a vacancy is created on the Board of Directors at any
    time by the death, disability, retirement, resignation or removal of a Director, the Partner
    that had designated such Director to serve as a Director shall have the sole and exclusive
    right to designate a replacement therefor.

             Section 6.10. Meetings of Board of Directors. Regular meetings of the Board
     of which no notice shall be necessary, shall be held quarterly at such times and places as
     may be fixed from time to time by resolution adopted by the Board and communicated to
     all Directors. Except as otherwise provided by statute, the Certificate or this Agreement,
     any and all business may be transacted at any regular meeting.

            Section 6.11.        Removal of General Partner. The General Partner may be
                                                                         Interest vote of Limited
     removed as a General Partner of the Partnership upon a Majority in Interest
     Partners. In such event, written notice of the removal of a General Partner shall be served
     upon it either by certified or registered mail, return receipt requested, or by personal
     service. Such notice shall set forth the date upon which the removal is to become
     effective. The Limited Partners holding a Majority in Interest may elect to continue the
     Partnership and select another person or entity as a substitute general partner at a special
     meeting of Limited Partners called for such purpose.


                                            ARTICLE VII

               Accounting and Banking Matters; Capital Accounts; Tax Matters

           Section 7.1. Books and Records. The Partnership shall keep and maintain full
     and accurate books of account for the Partnership in accordance with generally accepted
     accounting principles consistently applied in accordance with the terms of this Agreement.
     Such books shall be maintained at the principal United States office of the Partnership.

            Section 7.2. Fiscal Year. The calendar year shall be selected as the accounting
     year of the Partnership and the books of account shall be maintained on an accrual basis.

            Section 7.3. Bank Accounts. The Partnership shall maintain one or more bank
     accounts in the name of the Partnership in such bank or banks as may be determined by
     the General Partner, which accounts shall be used for the payment of expenditures
     incurred by the Partnership in connection with the business of the Partnership and in which
     shall be deposited any and all receipts of the Partnership. All such receipts shall be and
     remain the property of the Partnership and shall not be commingled in any way with funds
     of any other Person.

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           Section 7.4. Capital Accounts.

            (a)     A capital account shall be established and maintained for each Partner.
    Each Partner's capital account (a) shall be increased by (i) the amount of money
    contributed by that Partner to the Partnership, (ii) the fair market value of property
    contributed by that Partner to the Partnership (net of liabilities secured by the contributed
    property that the Partnership is considered to assume or take subject to under section 752
    of the Internal Revenue Code), and (iii) the amount of any item of taxable income or gain
    and the amount of any item of income and gain exempt from tax allocated to such Partner
    for federal income tax purposes, and (b) shall be decreased by (i) the amount of money
    distributed to that Partner of the Company, (ii) the fair market value of property distributed
    to that Partner by the Partnership (net of liabilities secured by the distributed property that
    the Partner is considered to assume or take subject to under section 752 of the Internal
    Revenue Code), (iii) allocations to that Partner of expenditures of the Partnership
                              705(a)(2)(8) of the Code, and (iv) allocations to that Partner of
    described in section 705(a)(2)(B)
    Partnership loss and deduction (or items thereof). The Partners' capital accounts also shall
    be maintained and adjusted as permitted by the provisions of Treasury Regulation sections
     1.704-1 (b )(2)(iv)(f) and as required by the other provisions of Treasury Regulation sections
    1.704-1(b)(2)(iv)(f)
    1.704-1(b)(2)(iv)
     1.704-1                  1.704-1 (b)(4), including adjustments to reflect
             (b)(2)(iv) and 1.704-1(b)(4),                                     the allocations to the
                                                                        reflectthe
    Partners of depreciation, depletion, amortization, and gain or loss as computed for book
    purposes rather than the allocation of the corresponding items as computed for tax
    purposes, as required by Treasury Regulation section 1.704-1(b)(2)(iv)(g).
                                                                 1.704-1 (b)(2)(iv)(g).

            (b)     Notwithstanding the foregoing provisions of this Section 7.4, the Partners'
     capital accounts shall be adjusted on the date of this Agreement in the manner required
     under Treasury Regulation § 1.704-1(b)(2)(iv)(f)
                                       1.704-1 (b )(2)(iv)(f) to reflect the fair market value of the
     Partnership's assets immediately prior to the date of this Agreement, which value shall be
     determined by reference to the Capital Contributions made to the Partnership for additional
     Units under Sections 4.2 and 4.3. Thereafter, the Partners' capital accounts shall be
     maintained and adjusted as permitted by the provisions of Treasury Regulation §§ 1.704-   1.704­
     1(b)(2)(iv)
     1(b)(2)(iv) and 1.704-1(b)(4),
                     1.704-1 (b)(4), including adjustments to reflect the allocations to the Partners
     of depreciation, depletion, amortization and gain or loss as computed for book purposes
     rather than the allocation of the corresponding items as computed for tax purposes, as
                                            1.704-1 (b )(2)(iv)(g).
     required by Treasury Regulation § 1.704-1(b)(2)(iv)(g).

            (c)    On the Disposition of all or part of a Partner's Units, the capital account of the
     transferor that is attributable to the transferred Units shall carry over to the transferee
     Partner in accordance with the provisions of Treasury Regulation § 1.704-1(b)(2)(iv)(1).
                                                                               1.704-1 (b )(2)(iv)( 1).

            Section 7.5. Tax Partnership. The Partners agree to classify the Partnership as
     a partnership for federal tax purposes. Neither the Partnership, the General Partner, any
     Partner nor any officer or other representative of any of the foregoing shall file an election
     to classify the Partnership as an association taxable as a corporation for federal tax
     purposes.


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               Section 7.6. Tax Elections. The Partnership shall make the following elections:

               (a)    To elect the calendar year as the Partnership's fiscal year if permitted by
        applicable law;

             (b)To elect with respect to such other federal, state and local tax matters as the
        General Partner shall approve, as the best interests of the partners.

               Section 7.7. Tax Matters Partner. The General Partner shall from time to time
        designate a Partner (which may be the General Partner) to act as the "tax matters partner"
                       6231 of the Internal Revenue Code subject to replacement by the General
        under Section 6231
        Partner (such Partner, in this Section, being called the "tax matters partner"). The tax
        matters partner shall promptly notify the Partners if any tax return or report of the
        Partnership is audited or if any adjustments are proposed by any governmental body. In
        addition, the tax matters partner shall promptly furnish to the Partners all notices
        concerning administrative or judicial proceedings relating to federal income tax matters as
        required under the Internal Revenue Code. During the pendency of any such
        administrative or judicial proceeding, the tax matters partner shall furnish to the Partners
        periodic reports, not less often than monthly, concerning the status of any such
        proceeding. Without the unanimous consent of the Directors, the tax matters partner shall
        not extend the statute of limitations, file a request for administrative adjustment, file suit
        concerning any tax refund or deficiency relating to any Partnership administrative
~       adjustment or enter into any settlement agreement relating to any Partnership item of
        income, gain, loss, deduction or credit for any fiscal year of the Partnership.


                                                ARTICLE VIII

                                              Indemnification

                Section 8. 1.      Indemnification. To the fullest extent permitted by law, and
        subject to the procedures in Article 11 11 of the Act, on request by the Person indemnified the
        Partnership shall indemnify each General Partner, each Limited Partner, and the respective
        Affiliates, officers, directors, partners, members, managers, employees, and agents of
        each of the foregoing and hold them harmless from and against all losses, costs, liabilities,
        damages, claims, and expenses (including, without limitation, costs of suit and attorney's
        fees) any of them may incur as a General Partner (or as an Affiliate, officer, director,
        partner, member, manager, employee or agent thereof) in performing the obligations of
        that General Partner with respect to the Partnership, or as a Limited Partner arising out of
        its status as such (or as an Affiliate, officer, director, partner, member, manager, employee
        or agent thereof) in connection with the Partnership, SPECIFICALLY INCLUDING THE
        PERSON INDEMNIFIED'S SOLE, PARTIAL, OR CONCURRENT NEGLIGENCE, and on
        request by the Person indemnified the Partnership shall advance expenses associated with
        defense of any related action; provided, however, that this indemnity does not apply to
        actions constituting gross negligence, willful misconduct, an intentional violation of
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            applicable securities laws or material breach of this Agreement by the indemnified Person.
            The satisfaction of any defense or indemnification and any saving harmless shall be solely
                      Partnorship assets (which shall be converted to cash to the extent necessary in
            from the Partnership
            a manner appropriate to protect the interests of all Partners). To the extent such
            Partnership assets are less than the Partnership's obligations under this Section 8.1
                                                                                              8.1 (such
            difference being referred to herein as the "Shortfall Amount"), no Partner shall be
            required to make a Capital Contribution, loan, advance or other payment to fund such
            Shortfall Amount.

                                                     ARTICLE IX
                                                 Dispositions of Units

                    Section 9.1. Dispositions.

                    (a)    Except as specifically permitted in this Article IX, no Partner shall Dispose of
            all or any portion of such Partner's Units (or any interest therein) without the prior written
            consent of all Partners, which consent may be withheld for any reason or for no reason.

                    (b)                                         9.1 (a) to the contrary:
                           Notwithstanding the terms of Section 9.1(a)

                            (i)     any Partner who is an individual may assign all or part of his Units
             during his lifetime or upon his death pursuant to his will or by intestate succession, for
r-""'        value, as a gift or otherwise, to (A) such Partner's spouse, children (including adopted and
             step-children), grandchildren, sisters, brothers, father, mother, father-in-law, mother-in-law,
             son-in-law or daughter-in-law or (B)(8) an inter vivos trust or any other entity the majority of
             the beneficial interests in which are held exclusively, directly or indirectly, by the individual
             Partner or any Person described in the preceding clause (A), provided that in each
             instance the assignee agrees in writing to be bound by the provisions of this Agreement
             as if such assignee were an original signatory hereto.

                            (ii)    any Partner that is a corporation, partnership or other entity may
             assign all or part of its Units to any Affiliate of the assignor Partner of which the assignor
             Partner owns, directly or indirectly, 80% or more of the ownership interests and over which
             the assignor Partner has effective control, provided that in each instance the assignee
             agrees in writing to be bound by the provisions of this Agreement as if such assignee were
             an original signatory hereto.

                            (iii)   (intentionally left blank)

                            (iv)    (intentionally left blank)

                          (v)    Upon dissolution of any Limited Partner, the Units then held by such
             Limited Partner may be assigned to the partners of the Limited Partner, provided that the
             assignees agree in writing to be bound by the provisions of this Agreement as if such
             assignees were original signatories hereto.
                                                 hereto .

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                  (c)    Every Disposition shall be subject to all of the terms, conditions, restrictions
            and obligations set forth in this Agreement.

                    (d)    The transferee of an interest in the Partnership transferred pursuant to this
            Article IX that is admitted to the Partnership as a substitute Partner as provided in Section
            9.5 hereof shall succeed to the rights and liabilities of the transferor Partner and, after the
            effective date of such admission, the Capital Contribution and Capital Account of the
            transferor shall become the Capital Contribution and Capital Account, respectively, of the
            transferee, to the extent of the interest transferred.

                   (e)    The admission of a transferee as a substitute Partner shall become effective
            on the date an amendment to reflect the transferred Units is duly recorded in the
            PartnerShip's records. Upon the admission of a substitute Partner, the appropriate Exhibits
            Partnership's
            to this Agreement shall be amended to reflect, among other matters, the name and
            address of the substitute Partner.

                   (f)    Any attempted Disposition or withdrawal in contravention of any of the
            provisions of this Agreement shall be void ab initio and shall not bind or be recognized by
            the Partnership, the General Partner or the Partners.

                   (g)    Any costs incurred by the Partnership in connection with any Disposition by
            a Partner of all or a part of its Units shall be borne by such Partner.
/"""'              (h)    Notwithstanding anything herein to the contrary, the terms and provisions of
            this Section 9. 1 shall not be deemed to be applicable to a sale of all
                                                                                 a/l of the outstanding
            Units pursuant to Section 9.4.

                   Section 9.2 Right of First Refusal.

                   (a)     If a Partner (the "Disposing Partner") desires to Dispose of all or any part
            of his Units (the "Subject Units") by any means whatsoever (other than a Disposition
            described in Section 9.1(b)
                                    9.1 (b) above or any merger,
                                                          merger. consolidation or other transaction that
            is permitted by Section 6.3(a)(xiv)
                                       6.3(a)(xiv} hereof),
                                                   hereof). then the Disposing Partner shall give written
            notice thereof (the "Voluntary Transfer Notice") to the Partnership and to each holder
            of Units (the "Eligible Partners"),
                                       Partners"). which notice shall set forth the proposed price (the
            "Voluntary Transfer Price") and the terms of payment for the Subject Units (the
            "Voluntary Transfer Terms"). The Voluntary Transfer Notice shall constitute an offer by
            the Disposing Partner to the Partnership and the Eligible Partners to sell the Subject Units
            at the Voluntary Transfer Price and on the Voluntary Transfer Terms.

                    (b)    The Partnership shall have the right, exercisable within thirty (30) days after
            the receipt of the Voluntary Transfer Notice by sending written notice of acceptance to the
            Eligible Partners and to the Disposing Partner, to purchase all or any portion of the Subject
            Units. The Partnership's written acceptance shall establish a date, within ninety (90) days
            but not less than ten (10) days after receipt of the Voluntary Transfer Notice, for the closing
            of the purchase and sale of the Subject Units.
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                    (c)    If the Partnership does not purchase all of the Subject Units pursuant to
            Section 99.2(b)                                    shan have the right, exercisable within sixty
                       .2(b) above, then the Eligible Partners shall
            (60) days after the Partnership's receipt of  the Voluntary Transfer Notice by sending written
                                                       ofthe
            notice of acceptance to the Partnership and to the Disposing Partner, to purchase the
            remaining Subject Units. If more than one Eligible Partner desires to purchase the
            remaining Subject Units, then such Subject Units shall be purchased by them in such
            proportions as they may agree. In the absence of agreement, the remaining Subject Units
            shall be allocated to each Eligible Partner desiring to purchase them pro rata based on the
            number of Units held by such Eligible Partner. If one or more Eligible Partners elect to
            purchase Subject Units pursuant to this Section 9.2(c), then the closing shall be held on
            the date established by the Partnership pursuant to Section 9.2(b)   9.2{b} above, or, if the
            Partnership has elected not to purchase any of the Subject Units, on a date established
            by the written agreement of the Disposing Partner and a majority (in number) of the Eligible
            Partners, which closing date shall be within ninety (90) days but not less than ten (10) days
            after the Partnership's receipt of the Voluntary Transfer Notice.

                    (d)    On the date of closing, the Disposing Partner shall sell, and the Partnership
             and/or the Eligible Partners shall purchase, the Subject Units subscribed for in Section
             9.2(b)
             9.2{b) and Section 9.2(c) above, at the Voluntary Transfer Price and upon the Voluntary
             Transfer Terms. The closing shall be held at the principal office of the Partnership.

                   (e)    The Disposing Partner may Dispose of any Subject Units that are not
,.-..        purchased by the Partnership and/or the Eligible Partners pursuant to the provisions of this
             Section 9.2, but only for the Voluntary Transfer Price and upon the Voluntary Transfer
             Terms as set forth in the Voluntary Transfer Notice and only if the Disposing Partner first
             complies with the requirements of Section 9.3 below.

                     (f)   If any Units of a Partner shall be attached or levied upon by judicial process
             and such attachment or levy shall not be promptly removed and abated, or if a Partner
             shall attempt to Dispose of any of its Units without complying with the provisions of this
             Article IX, then such Partner shall be deemed to have given a "Voluntary Transfer
             Notice" to the Partnership and the Eligible Partners under Section 9.2(a) above covering
             all of such Partner's Units (which shall be "Subject Units" for purposes of this Section 9.2)
             at a time immediately prior in time to such attachment, levy or attempt to Dispose, which
             notice shall become effective at such time as the Partnership shall have actual notice of
             such attachment, levy or attempt to Dispose. Within thirty (30) days after the Partnership
             shall have actual notice of such attachment, levy or attempted Disposition, it shall cause
             written notice thereof to be sent to all Eligible Partners. The "Voluntary Transfer Price"
             for such Partner's Units shall be the amount paid by such Partner for such Units, and the
             terms of Section 9.2(a)
                                9.2{a) through Section 9.2(d) above shall apply to all such Units.




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                   Section 9.3 Tag-Along Rights.

                    If, at any time, any Partner or group of Partners (individually or collectively, the
            "Seller") proposes to enter into any transaction, or series of related transactions, involving
                                                                                      9.1 (b) above or any
            the Disposition of Units (other than a Disposition described in Section 9.1(b)
            merger, consolidation or other transaction that is permitted by Section 6.3(a)(xiv) hereof),
            then the Seller shall first comply with the provisions of Section 9.2 above. If all of the Units
            proposed to be Disposed are not acquired by the Partnership and/or the Eligible Partners
            pursuant to Section 9.2 above, then the Seller shall give to each Partner written notice (the
            "Co-Sale Notice"), at least fifteen (15) days in advance of the proposed Disposition or the
            date that such tender is required, of such Partner's opportunity to sell its Pro Rata Share
            (as defined below) of   the total number of Units to be purchased by the proposed transferee
                                 ofthe
            (the "Co-Sale Units"), on the same terms and conditions (including price) applicable to
            the Co-Sale Units to be sold by the Seller (the Co-Sale Notice shall state the total number
            of Co-Sale Units to be purchased by the proposed transferee and shall describe in detail
            the other terms and conditions of the proposed Disposition). A Partner may exercise its
            right to participate in the proposed Disposition by giving written notice to the Seller within
            ten (10) days after such Partner's receipt of the Co-Sale Notice. A Partner's "Pro Rata
            Share" for purposes of this Section 9.3 means a fraction, the numerator of which is the
            number of Units held by such Partner at the time of the proposed Disposition, and the
            denominator of which is the total number of Units held by the Seller and the Partners at the
            time of the proposed Disposition.
~
                    All Dispositions under this Section 9.3 shall be subject to the provisions of Section
             9.5 below.

                    Section 9.4 Drag-Along Rights.

                     (a)    If at any time, the holders of more than forty percent (40%) of the outstanding
             Units (the "Receiving Partners") have received a bona fide written cash offer from an
             unaffiliated purchaser or group of unaffiliated purchasers (the "Offer") (x) to purchase all
             of the Partnership's outstanding Units or (y) to purchase all or substantially all of the
             Partnership's assets (other than by way of any merger, consolidation or similar
             transaction), the Receiving Partners shall have the right to (1) in the case of a transaction
             described in the immediately preceding clause (x), require each holder of Units to make
             an election to either sell all of its Units to such unaffiliated purchaser or group of
             purchasers on the same terms and conditions applicable to, and for the same purchase
             price payable to, the Receiving Partners, or reject the proposal, and (2) in the case of a
             transaction described in the immediately preceding clause (y), require each holder of Units
             to make an election to either approve and cause the Partnership to consummate such
             transaction or reject the proposal.

                    (b)    If the Receiving Partners desire to enter into any transaction, or series of
             related transactions, involving the sale of all or substantially all of the Partnership's assets
             or the sale of all of the Partnership's outstanding Units in a transaction described in

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              paragraph (a) of this Section 9.4, then the Receiving Partners may, but shall not be
              obligated to, give to all other Partners (the "Electing Partners") a notice describing in
              detail all of the terms and conditions of the Offer (including a copy of the Offer) and stating
                                                                                    ofthe
              that such notice is being delivered pursuant to this Section 9.4 (the "Election Notice").

                     (c)     Within thirty days after the last date on which each Electing Partner has
              received an Election Notice ( the "Election Period"), each Electing Partner shall deliver
              to the Receiving Partners its written election to either accept the Offer or reject the Offer.
              Failure to deliver an election within the Election Period shall be deemed to be a rejection
              of the Offer. If an Electing Partner rejects the offer (a "Rejecting Partner"), such
              Rejecting Partner shall then be obligated to purchase (upon the equivalent terms and
              conditions as set forth in the Offer) the Units of the Receiving Partners and any Electing
              Partner who has elected to accept the Offer for cash at a purchase price equal to 100%
              of the cash purchase price stated in the Offer, multiplied by the Unit Sharing Percentage
              of each such Receiving Partner and Electing Partner that has accepted the Offer. If there
              shall be more than one Rejecting Partner, the obligation to purchase the Units of the
              Receiving Partner and the Electing Partners who have accepted the Offer shall be borne
              pro rata among the Rejecting Partners, based on a fraction the numerator which is the
              number of Units owned by each Rejecting Partner and the denominator of which is the
              number of Units owned by all Rejecting Partners.

                      (d)    If one or more Rejecting Partners are required to purchase Units pursuant
              to this Section 9.4, then the closing shall be held on the date established by the Receiving
/'"'""
              Partners, which clOSing
                                closing date shall be within thirty days but not less than twenty days after
              the end of the Election Period.

                     (e)    Each Partner hereby covenants and agrees to take such steps and execute
              such documents as may be necessary, appropriate or desirable to effectuate the
              provisions of this Section 9.4.

                     Section 9.5. Substitution.

                     (a)    Unless an assignee of Units becomes a Partner in accordance with the
              provisions set forth below, such assignee shall not be entitled to any of the rights granted
              to a Partner hereunder in respect of such Units, other than the right to receive allocations
              of income, gain, loss, deduction, credit and similar items and distributions to which the
              assignor would otherwise be entitled, to the extent such items are assigned.

                       (b)     An assignee of the Units of a Partner, or any portion thereof, shall become
              a substitute Partner entitled to all of the rights of a Partner in respect of such Units if, and
              only if (i) the assignor gives the assignee such right, (ii) the other Partners consent to such
              substitution (which consent shall not be unreasonably withheld, conditioned or delayed)
              and (iii) the assignee executes and delivers such instruments, in form and substance
              reasonably satisfactory to the other Partners, as the other Partners may deem reasonably
              necessary to effect such substitution and to confirm the agreement of the assignee to be
              bound by all of the terms and provisions of     this Agreement.
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             Section 9.6.      Change in Control or Change of Key Personnel. The General
       Partner may not cause or permit an interest, direct or indirect, in itself to be Disposed of
       such that, after such Disposition, without the consent of the Limited Partners, in its sole
       and absolute discretion, the General Partner shall cease to be controlled (more than 50%)
       by substantially the same Persons who control it as of the date of this Agreement.

                                            Incompetency. or Dissolution of Limited Partner.
              Section 9.7 Death, Legal Incompetency,
       The death, legal incompetency, dissolution or other disability of a Limited Partner shall not
       dissolve or terminate the Partnership. Upon the death or legal incompetency of a Limited
       Partner, the estate, personal representative, guardian or other successor in interest of such
       Limited Partner shall have all the rights, shall be liable for all the Partnership liabilities of
       such Limited Partner, and, with the prior written consent of the General Partner, may be
       substituted for such Limited Partner.

                                                 ARTICLE X

                               Dissolution, Liquidation and Termination

             Section 10.1.         Dissolution. The Partnership shall dissolve and its affairs shall
       be wound up on the first to occur of the following:

              (a)                  (40th ) anniversary of the date of this Agreement;
                      the fortieth (40th)
~
             (b)    the sale or other disposition of all or substantially all of the assets of the
       Partnership to any other Person in which the Partners do not own a majority of the
       outstanding voting securities of such other Person, unless the Partners otherwise agree;

              (c)    the merger or consolidation of the Partnership, the conversion of the
       Partnership into another form of entity or the exchange of Partnership interests, in each
       case with or into any other Person in which the Partners do not own a majority of the
       outstanding voting securities of such other Person, unless the Partners shall otherwise
       agree;

              (d)     entry of a decree of judicial dissolution of the Partnership under Section 8.01
                                                                                                 8.01
       of the Act; or

              Section 10.2.         Liquidation and Termination.             On dissolution of the
       Partnership, the liquidator shall be a Person selected by the General Partner. The
       liquidator shall proceed diligently to wind up the affairs of the Partnership and make final
       distributions as provided herein and in the Act. The costs of liquidation shall be borne as
       a Partnership expense. Until final distribution, the liquidator shall continue to manage the
       Partnership with all of the power and authority of the General Partner. The steps to be
       accomplished by the liquidator are as follows:




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                       (a)      As promptly as possible after dissolution and again after final liquidation, the
                liquidator shall cause a proper accounting to be made of the Partnership's assets, liabilities
                and operations through the last day of the calendar month in which the dissolution occurs
                or the final liquidation is completed, as applicable.

                       (b)      The liquidator shall pay, satisfy
                                                          satiSfy or discharge from Partnership funds all of the
                debts, liabilities and obligations of the Partnership (including, without limitation, all
                expenses incurred in liquidation) or otherwise make adequate provision for payment and
                discharge thereof (including, without limitation, the establishment of a cash escrow fund
                for contingent liabilities in such amount and for such term as the liquidator may reasonably
                determine).

                       (c)    All remaining assets of the Partnership shall be distributed to the Partners as
                                                   ofthe
                follows:

                              (i)     the liquidator may sell any or all Partnership property and any resulting
                       gain or loss from each sale shall be computed and allocated to the capital accounts
                       of the Partners as provided in Section 5.1;

                               (ii)  with respect to all Partnership property that has not been sold, the fair
                       market value of that property shall be determined and the capital accounts of the
                       Partners shall be adjusted to reflect the manner in which the unrealized income,
                       gain, loss, and deduction inherent in property that has not been reflected in the
 /"'""""'
                       capital accounts previously would be allocated among the Partners under Section
                       5.1
                       5.1 if there were a taxable disposition of that property for the fair market value of
                       that property on the date of distribution; and

                            (iii) Partnership property shall be distributed among the Partners in the
                       amounts specified in Sections 5.2 and 5.3.

                All distributions in kind to the Partners shall be valued for purposes of determining each
                Partner's interest therein at its fair market value at the time of such distribution, and such
                distributions shall be made subject to the liability of each distributee for costs, expenses,
                and liabilities theretofore incurred or for which the Partnership has committed prior to the
                date of termination, and those costs, expenses, and liabilities shall be allocated to the
                distributee pursuant to this Section 10.2. It is intended that the foregoing distributions to
                each Partner will be equal to each Partner's respective positive capital account balance as
                determined after giving effect to the foregoing adjustments and to all adjustments
                attributable to allocations of items of income, gain, loss and deduction realized by the
                Partnership during the taxable year in question and all adjustments attributable to
                contributions and distributions of money and property effected prior to such distribution.
                To the extent that any such Partner's positive capital account balance does not correspond
                to such distribution, the allocations provided for in Section 5.15.1 shall be adjusted, to the
                least extent necessary, to produce a capital account balance for the Partner which
                corresponds to the amount of such distribution. Any distribution to the Partners in
                liquidation of the Partnership shall be made by the later of the end of the taxable year in

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            which the liquidation occurs or 90 days after the date of such liquidation. For purposes of
            the preceding sentence, the term "liquidation" shall have the same meaning as set forth
                                        1.704-I{b){2)(ii). The distribution of cash and/or property to a
            in Treasury Regulation § 1.704-1(b)(2)(ii).
            Partner in accordance with the provisions of this Section 10.2 constitutes a complete return
            to the Partner of its Capital Contribution and a complete distribution to the Partner of its
            Units and all the Partnership's property and constitutes a compromise to which all Partners
            have consented within the meaning of Section 5.02 of the Act. To the extent that a Partner
            returns funds to the Partnership, it has no claim against any other Partner for those funds.

                   Section 10.3         Deficit Capital Accounts. Notwithstanding anything to the
            contrary contained in this Agreement, and notwithstanding any custom or rule of law to the
            contrary, no Partner shall be obligated to restore a deficit balance in such Partner's capital
            account at any time.

                   Section 10.4            Certificate of Cancellation. On completion of the distribution
            of Partnership assets as provided herein, the Partnership shall be terminated and the
            Partners shall file a certificate of cancellation with the Secretary of State of Texas, cancel
            any other filings made pursuant to Section 1.5, and take such other actions as may be
            necessary to terminate the Partnership.
                                           PartnerShip.


                                                      ARTICLE XI
".-...
                                         Representations and Warranties

                  Section 11.1.       Representations and Warranties of Partners to Each Other.
            Each Partner hereby severally (and not jointly or jointly and severally) as to itself only
            represents and warrants to the other Partners as follows:

                  (a)   Such Partner (if not an individual) is duly organized, validly existing and in
            good standing under the laws of the jurisdiction of its formation.
                                                                    formation.

                  (b)    Such Partner, if an individual, is not a minor and has the requisite legal
            capacity to execute and deliver this Agreement and to perform his or her obligations
            hereunder.

                 (c)   Such Partner
                             Partne r has the requisite power and authority to execute and deliver this
            Agreement and to perform such Partner's obligations hereunder.

                   (d)   The execution, delivery and performance by such Partner (if not an individual)
            of this Agreement has been duly and validly authorized by all requisite limited liability
            company, partnership or corporate (as applicable) action.

                     (e)     The execution, delivery and performance by such Partner  Partner of this Agreement
            (i)
            (I) (if not an individual) is within its limited liability, partnership or corporate (as applicable)
            powers and (ii) will not (A) be in contravention of or violate any provisions of its charter or
            other governing documents, as amended to the date hereof in the instance of a Partner
 /""'
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                             (8) be in contravention of or result in any breach or constitute a
    not an individual), or (B)
    default under any applicable law, rule, regulation, judgment, license, permit or order or any
    loan, note or other agreement or instrument to which such Partner is a party or by which
    it or any of its properties are bound.

            (f)   When delivered to the other Partners, this Agreement will have been duly and
    validly executed and will be binding upon such Partner and enforceable in accordance with
    the terms hereof.

         (g)    No consent, approval, authorization or order of any court or governmental
    agency or authority or of any third party which has not been obtained is required in
    connection with the execution, delivery and performance by such Partner of this
    Agreement.

            (h)   Such Partner nor any of its Affiliates has employed or retained any broker,
    agent or finder in connection with this Agreement or the transactions contemplated herein,
    or paid or agreed to pay any brokerage fee, finder's fee, commission or similar payment
    to any Person on account of this Agreement or the transactions provided for herein; and
    such Partner shall indemnify and hold harmless the Partnership and the other Partners
                                                                     'from the claim of any broker,
    from any costs, including attorneys' fees, and liability arising from
    agent or finder employed or retained by such Partner in connection with the Partnership
    or this Agreement.

          (i)     Such Partner is not in default or breach of any agreement to which such
    Partner is a party or by which its properties are bound.

           (j)
           G)     There is no pending or, to such Partner's knowledge (after due inquiry),
    threatened judicial, administrative or arbitral action, suit or proceeding against or
    investigation of such Partner or its ability to perform its obligations under this Agreement.

            Section 11.2. Survival of Representations and Warranties. All representations,
     warranties and covenants made by each of the Partners in this Agreement or any other
     document contemplated thereby or hereby shall be considered to have been relied upon
     by the other party hereto and shall survive the execution and delivery of this Agreement
     or such other document, regardless of any investigation made by or on behalf of any such
     party.


                                            ARTICLE XII

                                        General Provisions

            Section 12.1.       Notices. Except as expressly set forth to the contrary in this
     Agreement, all notices, requests or consents provided for or permitted to be given under
     this Agreement must be in writing and must be given either by depositing that writing in the


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    United States mail, addressed to the recipient, postage paid, and registered or certified
    with return receipt requested or by delivering that writing to the recipient in person, by
    courier, or by facsimile transmission; and a notice, request, or consent given under this
    Agreement is effective on receipt by the Person to receive it. All notices, requests and
    consents to be sent to a Partner must be sent to or made at the addresses given for that
    Partner on Exhibit 3.2(c) or such other address as that Partner may specify by notice to the
    other Partners. All notices, requests and consents to be sent to the Partnership must be
    sent to or made at the address of the Partnership's principal place of business as the
    Partnership may specify by notice to the Partners.

           Section 12.2.       Amendment or Modification. This Agreement may be
    amended or modified from time to time only by a written instrument executed and agreed
    to by all of the Partners.

          Section 12.3.          Entire Agreement. This Agreement constitutes the full and
    complete agreement of the parties hereto with respect to the subject matter thereof.
    Without limitation of the foregoing, this Agreement supersedes in its entirety the Original
    Partnership Agreement and all amendments, modifications or changes thereto.

            Section 12.4.        Effect of Waiver or Consent. The failure of any Person to
    insist upon strict performance of a covenant hereunder or of any obligation hereunder,
    irrespective of the length of time for which such failure continues, shall not be a waiver of
    such Person's right to demand strict compliance in the future. No consent or waiver,
    express or implied, to or of any breach or default in the performance of any obligation
    hereunder shall constitute a consent or waiver to or of any other breach or default in the
    performance of the same or any other obligation hereunder.

          Section 12.5.         Successors and Assigns. Subject to Article IX, this
    Agreement shall be binding upon and inure to the benefit of the Partners and their
    respective heirs, legal representatives, successors and assigns.

         Section 12.6   Governing Law. THIS AGREEMENT IS GOVERNED BY AND
    SHALL BE CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF
    TEXAS EXCLUDING ANY CONFLICT-OF-LAWS
                        CONFLICT-OF-LAWS RULE OR PRINCIPLE THAT MIGHT
    REFER THE GOVERNANCE OR THE CONSTRUCTION OF THIS AGREEMENT
                                                       AGREEMENTTOTO THE
    LAW OF ANOTHER JURISDICTION.

            Section 12.7.        Severability.           If any provision of this Agreement is held
                                                        If
     to be unenforceable, this Agreement shall be considered divisible and such provision shall
     be deemed inoperative to the extent it is deemed unenforceable, and in all other respects
     this Agreement shall remain in full force and effect; provided,
                                                            provided. however, that if any provision
     may be made enforceable by limitation thereof,
                                              thereof. then such provision shall be deemed to be
     so limited .and
                and shall be enforceable to the maximum extent permitted by applicable law.


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                 Section 12.8.       Further Assurances. In connection with this Agreement and
          the transactions contemplated hereby, each Partner shall execute and deliver any
          additional documents and instruments and perform any additional acts that may be
          necessary or appropriate to effectuate and perform the provisions of this Agreement and
          those transactions.

                 Section 12.9.        Title to Partnership Property. All property owned by the
          Partnership, whether real or personal, tangible or intangible, shall be deemed to be owned
                                     Partner. individually, shall have any ownership of such property.
          by the Partnership, and no Partner,
          The Partnership shall hold all of its property in its own name.

                Section 12.10. Public Announcements. The Partnership or any Partner may
          issue a press release or other public statement with respect to this Agreement or the
          transactions contemplated hereby only after having providing reasonable advance notice
          of same to the other Partners.

                Section 12.11.        No Third Party Beneficiaries. Except as otherwise provided
          in Section and in Article VIII it is the intent of the parties hereto that no third-party
          beneficiary rights be created or deemed to exist in favor of any Person not a party to this
          Agreement, unless otherwise expressly agreed to in writing by the parties.

                Section 12.12.       Survival. The covenants and agreements of the parties hereto
          shall not survive the termination of the Partnership and the filing of a certificate of
          cancellation with the Secretary of State of Texas.

                Section 12.13.       Counterparts. This Agreement may be executed in any
          number of counterparts, with each such counterpart constituting an original and all of such
          counterparts constituting but one and the same instrument.

                  IN WITNESS WHEREOF,
                                 WHEREOF. the Partners have executed this Agreement as of the
          date first above written.


                                                            GENERAL PARTNER

          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _Brady
                                         Brady Plant Operators, LLC.
                                                     Operators. L.L.C.


                                                            By:_-=-_+::-J~-.::::~::=;....---
                                                            By:
                                                                  Terry clver, President




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                                              LIMITED PARTNERS




         P.O. Box 5562                        Heartland Investment Partners, Ltd.
         Midland, Texas 79704                 By: Western Green Oaks Corp


                                              B •
                                                       Cary D.      own. Vice President


         P.O. Box 519                          Huntland Resources, LLC.
         Santa Anna, Texas 76878

                                               By:
                                                     T rry   Iver, resident


         P.O. Box 519                          Huntland Properties, Ltd.
         Santa Anna, Texas 76878               By:
                                               By: Cornerstone o~g, L.L.C.
                                                   Comerstone Operating,

                                               By:     ~~ A~
                                                     Terry Mcl er, President
                                                                   PreSident


         P.O. Box 469                          J Bar T, Ltd.
                                                 BarT,
         Brady, Texas 76825                    By: KDLT
                                                   KDLT Resources, LLC


                                               By:                     L   "
                                                     Donald Barley, President


          P.O. Box 42                          Window Operating Company, Ltd.
          Coleman, Texas 76834                 By: Oak Tree Enter•
                                                            Enter rises, L.L.C.

                                               By:
                                                        ke Ray, P




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                                         Exhibit 3.1
                                                 3.1


          Name of Partner                                    Classification


    Brady Plant Operators, L.L.0
                           L.L.C                             General Partner


    Heartland Investment Partners, Ltd                       Limited Partner


    Huntland Resources, Ltd.                                 Limited Partner


    Huntland Properties, Ltd.                                Limited Partner


    Window Operating,
           Operating. Ltd.                                   Limited Partner


    J Bar T, Ltd
    J                                                        Limited Partner
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                                    Exhibit 3.2(c)


                          Address For                                 Capital
       Partners          Notice Purposes             Units            Contribution

     Brady Plant         P.O. Box 519                          100          $6,000
     Operators, L.L.C.   Santa Anna, Texas
     Heartland           P.O. Box 5562                       4,500       $270,000
     Investment          Midland, Texas 79704
     Partners, Ltd
     Huntland            P.O. Box 519                         3,000      $180,000
     Resources, LLC.     Santa Anna, Texas 76878

     Huntland            P.O. Box 519                          900         $54,000
     Properties, Ltd     Santa Anna, Texas 76878
     Window Operating,   P.O. Box 42                           500        $30,000
     Ltd.                Coleman, Texas 76834
     J Bar T, Ltd
       BarT,             P.O. Box 469                         1,000       ~601000
                                                                          $60,000
                         Brady, Texas 76825
                                                             10,000      $600,000




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                                            Exhibit 3.2(d)

                                          CER1'IFICATE ARE SUBJECT TO
          THE UNITS REPRESENTED BY THIS CERTIFICATE
          CERTAIN AGREEMENTS, RESTRICTIONS ON TRANSFER AND OTHER
          TERMS AND CONDITIONS SET FORTH IN THAT CERTAIN AGREEMENT OF
          LIMITED PARTNERSHIP, DATED AS OF NOVEMBER _,, 2004(AS SUCH
          AGREEMENT MAY BE AMENDED FROM TIME TO TIME), A COPY OF
          WHICH MAY BE OBTAINED FROM THE PARTNERSHIP AT ITS PRINCIPAL
          EXECUTIVE OFFICES.
                    OFFICES,

                           Certificate of Units in Loadcraft Industries, Ltd

    Certificate No. _ _                                                    _ _ _ _ _ Units
                                                                                     Units

            LOADCRAFT INDUSTRIES, LTD., a Texas limited partnership (the "Partnership"),
    hereby certifies that                     (the "Holder") is the registered owner of       Units
    in the Partnership (the "Units"). The rights, preferences and limitations of the Units are set
    forth in that certain Agreement of Limited Partnership of the Partnership dated as of November
    _, 2004, as amended, supplemented or restated from time to time (the "Agreement"), a copy
    of which is on file at the principal office of the Partnership.

          This Certificate and the Units evidenced hereby are not negotiable or transferable
    except as provided in the Agreement.

    Dated: _ _ _ _ __                                LOADCRAFT INDUSTRIES, LTD.

                                                     By: Brady Plant Operators, L.L.C..,
                                                                                L.L.C ..,
                                                            its general partner


                                                     By: _ _ _ _ _ _ _ _ _ _ ___
                                                     By:
                                                          Terry McIver,
                                                                Mciver, President

           THIS SECURITY HAS NOT BEEN REGISTERED UNDER THE SECURITIES
           ACRE OF 1933, AS AMENDED (THE "SECURITIES ACT"), AND MAY NOT
           BE OFFERED OR SOLD, UNLESS IT HAS BEEN REGISTERED UNDER THE
           SECURITIES ACT OR UNLESS AN EXEMPTION FROM REGISTRATION IS
           AVAILABLE (AND, IN SUCH CASE, AN OPINION OF COUNSEL
           REASONABLY SATISFACTORY TO THE PARTNERSHIP SHALL HAVE
           BEEN DELIVERED TO THE PARTNERSHIP TO THE EFFECT THAT SUCH
           OFFER OR SALE IS NOT REQUIRED TO BE REGISTERED UNDER THE
           SECURITIES ACT).    THIS SECURITY IS SUBJECT TO CERTAIN
           AGREEMENTS, RESTRICTIONS ON TRANSFER AND OTHER TERMS AND
           CONDITIONS SET FORTH IN THAT CERTAIN AGREEMENT OF LIMITED
           PARTNERSHIP, DATED AS OF NOVEMBER _., 2004 (AS SUCH
           AGREEMENT MAY BE AMENDED FROM "riME TIME TO TIME).
                                                       TIME), A COPY OF
           WHICH MAY BE OBTAINED FROM THE PARTNERSHIP AT IS PRINCIPAL
           EXECUTIVE OFFICES.
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                                                   Exhibit 3.3

                                          Schedule of Additional Units

                                Initial  Initial
                                         Initial  0-6      New,    7 -12   New      12 +    New
                                 Units Sharing % months Sharing % months Sharing % months Sharing %
     GP                             100     1.00%   100     0.90%     100    0.80%     100   0.70%
     Huntland Resources          3,000    30.00%  3,000    27.00%   3,000   24.00%   3,000  21.00%
     Huntland Properties            900     9.00%   900     8.10%     900    7.20%     900    6.30%
     Heartland Investments       4,500    45.00%  5,610    50.50%   7,000   56.00%   8,785  61.50%
     Window Operating               500     5.00%    500    4.50%      500   4.00%     500    3.50%
     JBarT                       1,000
                               -LQQQ.     10.00%   1000     9.00%    1,000   8.00%   1,000    7.00%
                                10,000      100% 11,110   100.00% 12,500   100.00% 14,285 100.00%


     Additional Units to be Issued                1,110            1,390             1,785
     to Heartland
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                                                                                       Exhibit 6.7
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..

                                                         Initial Board of Directors of General Partner
                                                     •

             Designated by Heartland (3)

             Cary D. Brown

             Dale A. Brown

             W. Stirling Warren


             Designated by Huntland Resources and Huntland Properties (2)

             Terry McIver
                   Mciver

             Donald Barley




             -IAMMARQUEZAIBTLIENTSU
             -1:IMMARQIJIlZlAJBICLlENTSIA -- MBrovm-DaleHairtland
                                             BlBrown-DaleIHeartland 1  " _ ' Parmas
                                                                    Investmau Panner.lLoad Crall3181m:ifs,
                                                                                     \Load Craft Industries, LP\Ltd
                                                                                                             LPIL,d Agmeraeot
                                                                                                                    Agreement
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                                          UNANIMOUS CONSENT
                                          SOLE MEMBER
                                               O
                                  BRADY PLANT OPERATORS, L.L.C.
                                                November 11, 2020

                 The undersigned, being the sole Member of Brady Plant Operators, L.L.C., a Texas Limited
        Liability Company, acting pursuant to the provisions of the Texas Business Organizations Code,
        Section 6.201, hereby consents that when the sole Member has signed this consent or an exact
        counterpart thereof the resolutions as hereinafter set forth shall be deemed to have been adopted to
        the same extent and shall have the same force and effect as if adopted at a formal meeting of the
        Members of the Company, duly called and held for the purpose of acting upon a proposal to adopt
        such resolution, to wit:

               Whereas, the Company is the general partner of Loadcrafl Industries, Ltd.; and

                Whereas, the Company has decided that it is advantageous for the Company to update the
        Managers for the Company due to the sudden and unexpected departure of Charles Hinkle as the
        Chief Financial Officer for Loadcraft Industries, Ltd.
                Now, Therefore, Be It:
               Resolved, That Charles Hinkle be removed as a Manager of the Company effective
               November 11, 2020.
               Further Resolved, That the Managers of the Company effective November 11, 2020,
               be as follows:
                                                   Terry McIver
                                                   Grady McIver

                                              Glorious Splendor, LLC

               Dated and Effective this 11th day of November, 2020.



                                                              Tent' dyer      ites)t-e--



                                                  EXHIBIT "C"
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                                        84                        7/21/2021 10:23 AM
                                                                                             Velva L. Price
                                                                                            District Clerk
                                                                                            Travis County
                                                                                         D-1-GN-21-002825
                                                                                            Chloe Jimenez
                                CAUSE NO. D-1-GN-21-002825

  ALPHONSO ENERGY, LLC,                         §        IN THE DISTRICT COURT OF
  CHARLES HINKLE, and NESTOR                    §
  OUTCOMES, LLC,                                §
      Plaintiffs,                               §
                                                §
  v.                                            §        98th JUDICIAL DISTRICT
                                                §
  LOADCRAFT INDUSRIES, LTD.,                    §
  TERRY MCIVER, and GLIDER                      §
  PRODUCTS, LLC                                 §
                                                §
         Defendants/Third-Party Plaintiffs.     §        TRAVIS COUNTY, TEXAS


              DEFENDANTS’ MOTION TO TRANSFER VENUE, ORIGINAL
              ANSWER AND COUNTER-CLAIM SUBJECT THERETO, AND
                   THIRD-PARTY PETITION SUBJECT THERETO


  TO THE HONORABLE COURT:

         NOW COMES, LOADCRAFT INDUSTRIES, LTD., TERRY MCIVER, AND GLIDER

  PRODUCTS, LLC, Defendants in the above numbered and entitled cause and file this their

  Motion to Transfer Venue and Original Answer, Counter-Claim and Third Party Petition subject

  thereto in accordance with Rules 85, 86, 87 and 89, Texas Rules of Civil Procedure, and

  respectfully moves the Court to transfer venue of this case from Travis County, Texas to

  McCullough County, Texas, and in support thereof respectfully shows the following:

                              MOTION TO TRANSFER VENUE

                                                1.

         The county in which this action is filed is not a county of proper venue.      In this

  connection, Defendants LOADCRAFT INDUSTRIES, LTD., TERRY MCIVER, AND GLIDER

  PRODUCTS, LLC would respectfully show the Court that:
  _____________________________________________________________________________________________
  Defendants’ Motion to Transfer Venue, Original Answer and Counter-Claim               Page 1
  Subject Thereto, and Third-Party Petition Subject Thereto

                                           EXHIBIT "D"
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         (a)    Plaintiffs’ claims of contractual venue fail under Tex. Civ. P. & Rem. Code
                Section 15.020 as these contracts do not fall under the major transaction rule and
                generally contractual venue is invalid. Further, Plaintiffs’ reliance on Section
                15.035 is misplaced as that requires the contract to be performable in the county
                of venue. Finally, the contracts were unconscionable at the time executed and
                were based on collusion amongst the Plaintiffs, as two of the contracts were in
                breach the moment they were signed.

         (b)    All or a substantial part of the events or omissions giving rise to the alleged
                claims occurred in McCullough County, Texas.

         (c)    Plaintiff ALPHONSO ENERGY, LLC’s principal place of business is in Travis
                County, Austin, Texas.

         (d)    Plaintiff NESTOR OUTCOMES, LLC’s principal place of business is in Bell
                County, Temple, Texas.

         (e)    Defendant LOADCRAFT INDUSTRIES, LTD.’s principal place of business is in
                Brady, McCullough County, Texas.

         (f)    Defendant TERRY MCIVER resided in San Saba County, San Saba, Texas, at the
                time of the alleged causes of actions accrued.

         (g)    Defendant GLIDER PRODUCTS, LLC’s principal place of business is in
                McCullough County, Brady, Texas.

                                                 2.

                                      No Contractual Venue

        “In general, the fixing of venue by contract is invalid. In re Great Lakes Dredge & Dock

  Co., 251 S.W.3d 68, 76 (Tex. App.-Corpus Christi 2008, orig. proceeding) (citing Fid. Union

  Life Ins. Co. v. Evans, 477 S.W.2d 535, 537 (Tex.1972)). An exception to that general rule

  appears in section 15.020 of the civil practice and remedies code, which states that contractual

  venue selection clauses may be enforceable in cases involving “major transactions.” TEX. CIV.

  PRAC. & REM.CODE ANN. § 15.020. A “major transaction” is “a transaction evidenced by a

  written agreement under which a person pays or receives, or is obligated to pay or entitled to

  _____________________________________________________________________________________________
  Defendants’ Motion to Transfer Venue, Original Answer and Counter-Claim               Page 2
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  receive, consideration with an aggregate stated value equal to or greater than $1 million.” Id. §

  15.020(a).” Shamoun & Norman, LLP v. Yarto Intern. Group, LP, 398 S.W.3d 272, 293 (Tex.

  App.—Corpus Christi 2012, pet. dism’d). Each of the bailment contracts (Exhibits 1-4 Plaintiff’s

  original Petition) relied upon by the Plaintiffs do not meet the definition of a “major

  transaction.” Thus, there is no contractual venue.

         Even if the bailment contracts are to be taken as one contract to qualify as a major

  transaction, as exception to Section 15.020 is applicable here as the bailment contracts were

  unconscionable at the time they were executed. Id. 15.020(d)(1). The first two bailment contracts

  (Exhibits 1 and 2) were in breach the very moment they were executed as the equipment had

  already been produced sold and shipped to the third-party purchaser. A contract that is in breach

  when executed is by definition, unconscionable. The two bailment contracts represented by

  Exhibits 3 and 4 are not in breach as the equipment has yet to be either manufactured, sold or

  both, but are still unconscionable as they were also executed by two of the Plaintiffs in a

  collusive effort to unreasonably and unnecessarily attempt to bind Defendant Loadcraft to a

  bailment contract that was inappropriate under the circumstances.

         Finally, under Tex. Civ. P. & Rem. Code Section 15.035, it states that contractual venue

  is based on performance of the contract in a particular county and suit may be filed in that

  particular county or in the county of the Defendant’s domicile. Here, both of these options

  indicate McCullough County is the county of proper venue since a review of the contracts

  themselves involve the production and sale of equipment in McCullough County where

  Loadcraft is based.

         Accordingly, there is no contractual basis for holding venue in Travis County.

  _____________________________________________________________________________________________
  Defendants’ Motion to Transfer Venue, Original Answer and Counter-Claim               Page 3
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                                                   3.

                                            General Venue

         The Plaintiffs claim that the acts or omissions complained of occurred in Travis County is

  simply false. All or a substantial part of the claimed wrongful actions occurred in McCullough

  County. See Affidavit of Terry McIver attached hereto. This action should be transferred to

  McCullough County, Texas. McCullough County is the proper venue under the general venue

  rule, again, because it is the county where all or a substantial part of the events or omissions

  giving rise to the claim occurred and where Defendants LOADCRAFT INDUSTRIES, LTD.,

  TERRY MCIVER, and GLIDER PRODUCTS, LLC were involved with the Plaintiffs.

  McCullough County is proper because it is the principal place of business for these Defendants.

  See Tex. Civ. P. & Rem. Code (V.A.T.S. 2018), Section 15.002(a)(1) and (3). Further, the

  obligations of Defendant Loadcraft under the bailment contracts were based on performance in

  McCullough County, not Travis County.

         Plaintiff Alphonso Energy, LLC apparently has an office address in Austin, Texas, but it

  is unknown if this is the principal place of business in Texas.

         Plaintiff Charles Hinkle currently lives in South Carolina and Nestor Outcomes, LLC is a

  Texas corporation.

         Defendant Loadcraft hired Plaintiff HINKLE as a consultant, which became an

  employment situation and was working for Defendant Loadcraft as CEO and CFO and then just

  CFO at all times material to the complaints in Brady, McCullough County, Texas. See affidavit

  of Terry McIver attached hereto.



  _____________________________________________________________________________________________
  Defendants’ Motion to Transfer Venue, Original Answer and Counter-Claim               Page 4
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                                                   4.

                               Transfer for Justice and Convenience

         Alternatively, Defendant LOADCRAFT INDUSTRIES, LTD., TERRY MCIVER, AND

  GLIDER PRODUCTS, LLC asks the Court to transfer the case to McCullough County in the

  interest of justice and for the convenience of the parties and witnesses under the authority of

  Texas Civil Practice & Remedies Code section 15.002(b).

         Interest of Justice

         Given that unconscionable bailment contracts, in breach when executed, provide for the

  contractual venue in Travis County, the interest of justice provides for the permissive venue for

  McCullough County.

         Convenience

         Maintaining this suit in TRAVIS County will impose an economic and personal hardship

  on Defendant LOADCRAFT INDUSTRIES, LTD., TERRY MCIVER, AND GLIDER

  PRODUCTS, LLC. Tex. Civ. P. & Rem. Code Section 15.002(b)(1).

         The balance of interest of all parties weighs in favor of the action being brought in

  McCullough County. Tex. Civ. P. & Rem. Code Section 15.002(b)(2). Specifically, witnesses

  to the alleged conduct, the location of the actions giving rise herein; and given that the Plaintiff

  HINKLE himself resided in McCullough County at all material times makes McCullough

  County the forum conveniens of choice.

         The transfer to McCullough County will not cause a hardship or an injustice for any other

  party. Tex. Civ. P. & Rem. Code Section 15.002(b).



  _____________________________________________________________________________________________
  Defendants’ Motion to Transfer Venue, Original Answer and Counter-Claim               Page 5
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        ORIGINAL ANSWER SUBJECT TO THE MOTION TO TRANSFER VENUE

                                        GENERAL DENIAL

                                                  5.

         Defendants LOADCRAFT INDUSTRIES, LTD., TERRY MCIVER, AND GLIDER

  PRODUCTS, LLC denies each and every, all and singular, the allegations made and contained in

  the Plaintiff’s Original Petition and any petition which the Plaintiffs may hereinafter file by way

  of amendment or supplement, for the purpose of requiring the Defendants or Plaintiffs to prove

  said allegations by a preponderance of the evidence to a fair and impartial jury in accordance

  with the laws of this State.

                                    AFFIRMATIVE DEFENSES

                                                  6.

         Pleading further, if same be necessary, the Defendants LOADCRAFT INDUSTRIES,

  LTD., TERRY MCIVER, AND GLIDER PRODUCTS, LLC would show that the Plaintiffs

  claims, are barred in whole or in part, due to Plaintiffs’ unclean hands and collusion by and

  between Charles Hinkle and Brian Alphonso to perpetuate a scheme to defraud Defendant

  Loadcraft and Glider.

                                                  7.

         Pleading further, if same be necessary, the Defendants LOADCRAFT INDUSTRIES,

  LTD., TERRY MCIVER, AND GLIDER PRODUCTS, LLC would show by way of affirmative

  defense that the Plaintiffs’ claims are barred as the very actions they are complaining of were

  committed by or done at the direction of Plaintiff Charles Hinkle in agreement with Brian

  Alphonso and Alphonso Energy.

  _____________________________________________________________________________________________
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                  ORIGINAL COUNTERCLAIM AGAINST CHARLES HINKLE

                                                     8.

  Conversion/Misappropriation of Corporate Funds

            Plaintiff Charles Hinkle was the CEO and CFO of Loadcraft from May of 2016 until

  November of 2019. He then continued as CFO until he abruptly left in November of 2020

  without notice. Before Mr. Hinkle resigned in November of 2020, he used Loadcraft money to

  pay numerous wire transfers to a lady friend in Mexico in the total sum of $33,745.00. In 2017

  and 2018, Hinkle paid himself several draws generally coinciding with capital contributions from

  Alphonso Energy and/or receipts from equipment sales, totaling at least $85,000.00. Further,

  there is an additional $343,000.00 in unexplained draws to Mr. Hinkle which are also believed to

  be above any consulting fee, salary, wages, or expenses. See affidavit of Terry McIver attached

  hereto.

            The above represent unauthorized draws and wire transfers directed by Mr. Hinkle that

  were not done in the furtherance of Loadcraft’s interest, but purely for the personal gain of Mr.

  Hinkle. As such, Defendant/Third-Party Plaintiff Loadcraft sues by counter-claim against

  Charles Hinkle for the return of these misappropriated funds and interest thereon as allowed by

  law.

                 DEFENDANTS/THIRD-PARTY PLAINTIFF TERRY MCIVER’S
                    ORIGINAL PETITION AGAINST BRIAN ALPHONSO

                                                     9.

                                       Statement of Discovery Level

            Pursuant to T.R.C.P. 47, Third-Party Plaintiffs states that the damages sought by Plaintiffs

  hereby are within the jurisdictional limits of this Court and discovery in this case is proper under
  _____________________________________________________________________________________________
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  Level Three of T.R.C.P. 190.

                                            Parties and Service

           Defendant and Third-Party Plaintiff, Terry McIver, is an individual residing in San Saba,

  Texas.

           Third-Party Defendant, Brian Alphonso, is an individual who may be served with process

  by serving him at 7920 FM 2244 Rd., Austin, Texas 78746, or wherever he may be found, for

  which citation should issue.

                                          Jurisdiction and Venue

           Venue is proper in McCullough County, Texas, because generally, the venue of cross

  actions, counter-claims and third-party claims are determined by the venue of the underlying suit,

  which as noted above, should be in McCullough County. Here, the complained of actions arose out

  of and were directly related to the subject matter at issue in McCullough County, and the amount in

  controversy is within the jurisdictional limits of this Court.

                    Causes of Action Against Third-Party Defendant Brian Alphonso

  Civil Assault

           Third-Party Defendant Brian Alphonso, in front of several witnesses, did threaten

  imminent bodily harm and death to Defendant/Third-Party Plaintiff. This civil assault arose out

  of an invited meeting of the parties to discuss resolution of their differences. Instead, it was a

  hostile and threatening demand for various items which escalated to the threat by Brian

  Alphonso to kill Terry McIver. See affidavit of Terry McIver attached hereto.




  _____________________________________________________________________________________________
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          Third-Party Defendant Alphonso’s constitute civil assault. Defendant/Third-Party

  Plaintiff McIver believed the harm was imminent and the threats were real as they were repeated

  and made with clear animosity and vehemence.

          McIver was apprehensive and fearful. As such, McIver now sues for damages arising out

  of and caused by Alphonso’s civil assault.

  Intentional Infliction of Emotional Distress

          Alternatively, in the event the above threats by Third Party Defendant Brian Alphonso are

  not adjudicated as civil assault, then it is clear that Alphonso’s actions rise to the level of actionable

  intentional infliction of emotional distress.

          Clearly, the conduct of Alphonso was intentional or at the least reckless, causing severe

  emotional distress for McIver. These threats were real and caused McIver to be guarded and

  watchful for Alphonso. McIver was fearful and worried over these threats and the stress and anxiety

  persisted long after the threats themselves.

          Alphonso’s conduct was clearly extreme and outrageous. The conduct was threatening,

  harassing and clearly designed to scare, humiliate, intimidate and coerce McIver into unwanted and

  unnecessary actions.

                                            Causation; damages.

          The conduct by the Third-Party Defendant as described in the preceding paragraphs for civil

  assault, or in the alternative, intentional infliction of emotional distress, was a producing and

  proximate cause of McIver’s apprehension, fear, anxiety, stress and mental anguish in general. As

  such, McIver seeks compensatory damages and redress from Alphonso, along with pre and post

  judgment interest and court costs.

  _____________________________________________________________________________________________
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          Further, Third-Party Defendant’s actions give rise to exemplary damages for which McIver

  now sues.

                                               PRAYER

                                                   10.

          WHEREFORE, PREMISES CONSIDERED, Defendants and Third-Party Plaintiffs

  LOADCRAFT INDUSTRIES, LTD., TERRY MCIVER, AND GLIDER PRODUCTS, LLC,

  respectfully request that upon hearing, the motion to transfer venue to McCullough County,

  Texas be granted, and that the Court enter its order transferring this cause to a proper district

  court of McCullough County, Texas, pursuant to Rule 89, Texas Rules of Civil Procedure; and

  that upon final hearing or trial of this cause, the Plaintiffs take nothing by way of their suit, that

  Third-Party Defendant be cited according to law to appear and answer herein, that damages and

  costs be awarded to the Defendants LOADCRAFT INDUSTRIES, LTD., TERRY MCIVER,

  AND GLIDER PRODUCTS, LLC, on their counter-claim and third-party claim and for such

  other and further relief to which Defendants and Third-Party Plaintiffs may show themselves to

  be justly entitled.




  _____________________________________________________________________________________________
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                                               Respectfully submitted,

                                               MCMAHON SUROVIK SUTTLE, P.C.
                                               P.O. Box 3679
                                               Abilene, Texas 79604
                                               (325) 676-9183 Telephone
                                               (325) 676-8836 FAX

                                               BY: /s/ Robert B. Wagstaff
                                                    ROBERT B. WAGSTAFF
                                                    State Bar No. 20665000
                                                    rwagstaff@mcmahonlawtx.com

                                               ATTORNEYS FOR DEFENDANTS/
                                               THIRD-PARTY PLAINTIFFS,
                                               LOADCRAFT INDUSTRIES, LTD.,
                                               TERRY MCIVER, AND
                                               GLIDER PRODUCTS, LLC


                                  CERTIFICATE OF SERVICE

           This is to certify that a true copy of the above and foregoing instrument was forwarded to
  all attorneys of record on this 21st day of July, 2021, in accordance with the Texas Rules of Civil
  Procedure.


                                                 /s/ Robert B. Wagstaff
                                                 ROBERT B. WAGSTAFF




  _____________________________________________________________________________________________
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                                   CAUSE NO.
                                         NO. D-1-GN-21-002825

   ALPHONSO ENERGY,
               ENERGY, LLC,
                       LLC,                         §§     IN
                                                           IN THE DISTRICT COURT OF
   CHARLES HINKLE,
             HINKLE, and NESTOR                     §§
   OUTCOMES,
   OUTCOMES, LLC,
                LLC,                                §§
       Plaintiffs,
       Plaintiffs,                                  §§
                                                    §§
   v.
   v.                                               §§       98th
                                                             9g th JUDICIAL DISTRICT
                                                    §§
   LOADCRAFT INDUSRIES,
              INDUSRIES, LTD.,
                         LTD.,                      §§
         MCIVER, and GLIDER
   TERRY MCIVER,                                    §§
   PRODUCTS,
   PRODUCTS, LLC                                    §§
                                                    §§
          Defendants/Third-Party
          Defendantsllhird-Party Plaintiffs.
                                 Plaintiffs.        §§      TRAVIS COUNTY,
                                                                   COUNTY, TEXAS


                                 AFFIDAVIT OF TERRY MCIVER



   BEFORE ME,
          ME, the undersigned authority,
                              authority, personally appeared TERRY MCIVER,
                                                                   MCIVER, who being duly

  sworn,
  sworn, deposed as follows:
                    follows:

          "My name is TERRY MCIVER.
                            MCIVER. I am over 18 years of age,
                                                          age, of sound mind and capable of
   making this Affidavit.
               Affidavit. I am one of the named defendants above,
                                                           above, as well as the managing member
  of Brady Plant Operators LLC,
                           LLC, the general partner of Defendant Loadcraft Industries,
                                                                           Industries, Ltd.,
                                                                                       Ltd., and
  the managing member of Defendant Glider Products,
                                          Products, LLC.
                                                    LLC. I have also been the CEO of Defendant
  Loadcraft since November of 2019.
                              2019. Accordingly,
                                    Accordingly, the factual
                                                     factual averments stated in this Affidavit are
   within my personal knowledge and are true and correct.
                                                 correct.
          "I have read the Plaintiffs'
                           Plaintiffs' Original Petition and request for injunctive relief.
                                                                                    relief. All of the
   alleged acts of wrongdoing,
                   wrongdoing, which are categorically denied,
                                                       denied, all took place in Brady,
                                                                                 Brady, McCullough
   County, Texas.
   County, Texas. Further,
                  Further, I have reviewed the venue facts as set out in the Motion to Transfer Venue
  and Original Answer subject thereto and these are true and correct as well.
                                                                        well.
          Plaintiff Charles Hinkle was the CEO and CFO of Loadcraft from May of 2016 until
  November of 2019 and then continued as CFO until he abruptly left in November of
           of2019                                                                  2020 without
                                                                                of2020
  notice.
  notice. During his time with Loadcraft as CEO,
                                            CEO, he was making the day-to-day decisions,
                                                                              decisions, including
  dealing directly with Brian Alphonso and Plaintiff Alphonso Energy LLC.
                                                                     LLC. The contracts attached
  as Exhibits 1-4 to Plaintiffs' origihal petition in which they rely to support their contractual venue
                     Plaintiffs' original


  Affidavit of Terry McIver
                     Mciver                                                                  Page 11 of
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   claim were negotiated directly by and between Charles Hinkle and Brian Alphonso.
                                                                          Alphonso. While I was
   aware that Mr.
              Mr. Alphonso,
                  Alphonso, by and through Alphonso Energy,
                                                    Energy, was making occasional capital
   contributions,
   contributions, I was unaware of these agreements or the nature thereof
                                                                  thereof. I do not understand the
   bailment issue or why it was done this way.
                                          way. In fact,
                                                  fact, upon review of these bailment contracts,
                                                                                      contracts, the
   first two represented by Exhibits 11 and 2 to the Plaintiffs Original petition,
                                                                         petition, were in breach by
   Loadcraft the minute these were executed since the subject equipment had already been sold and
   delivered and payment received.
                         received. Both Mr.
                                        Mr. Hinkle and Mr.
                                                       Mr. Alphonso were aware of the equipment
   already being sold,
                 sold, money received and shipped,
                                          shipped, but intentionally signed these contracts putting
   Loadcraft immediately in technical breach.
                                      breach. The equipment subject to the Exhibits 3 and 4 bailment
   contracts have yet to be completed,
                            completed, sold and delivered,
                                                delivered, so these contracts,
                                                                    contracts, to the extent they are
   even valid,
        valid, are not in breach.
                          breach.
          The idea to execute these bailment contracts was evidently Charles Hinkle's in consult with
   Brian Alphonso.
         Alphonso. I was not consulted nor was I aware of what type of loan/contractual agreement
   had been worked out with Alphonso Energy until after I became CEO in late 2019.
                                                                             2019. At that point
   we were working on the manufacturing and sale of the equipment subject to Exhibits 3 and 4,
                                                                                            4,
   which continues to this day.
                           day.
          After Mr.
                Mr. Hinkle was removed as CEO in November 2019,and I became CEO again,
                                                                                again, it
  came to my attention that he had used Loadcraft money to pay numerous wire transfers to a lady
   friend in Mexico in the total sum of $33,745.00. Further,
                                     of$33,745.00.  Further, he was paying himself substantial draws
   generally coinciding with capital contributions from Alphonso Energy,
                                                                 Energy, totaling at least
  $85,000.00.
  $85,000.00. There is an additional $343,000.00 in unexplained draws to Mr.
                                                                         Mr. Hinkle which do not
  coincide with any particular expense or consultant payment.
                                                     payment.
          Finally,
          Finally, prior to the suit being filed,
                                           filed, a meeting was held in Austin,
                                                                        Austin, Texas on March 4,
                                                                                               4, 2021,
                                                                                                  2021,

  and the people in attendance were Katherine Walters (attorney
                                                      (attorney for Plaintiffs),
                                                                    Plaintiffs), Brian Alphonso,
                                                                                       Alphonso,

  Andre Alphonso (son
                 (son of Brian),
                         Brian), Terry McIver,
                                       Mclver, Gary Weatherman and Kendra Oldham from

  Loadcraft,
  Loadcraft, with Charles Hinkle and Rob Walker in attendance via Zoom.
                                                                  Zoom. The purpose of the

  meeting was to see if we could resolve our differences and work together going forward.
                                                                                 forward.

          During the course of the meeting,
                                   meeting, there were several discussions concerning Defendant

  Glider-
  Glider· Products,
          Products, LLC.
                    LLC. Brian Alphonso indicated that he wanted controlling interest in Glider


  Affidavit of Terry McIver
                     Mciver                                                                 Page 2 of
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 Products,
 Products, LLC and his "loans" paid back from Loadcraft.
                                              Loadcraft. When this was not agreeable,
                                                                           agreeable, the

 meeting deteriorated and Brian Alphonso told his lawyer,
                                                  lawyer, Katherine Walters,
                                                                    Walters, to move froward

 with litigation with an open retainer.
                              retainer. Brian Alphonso then turned to me and stated,
                                                                             stated, 'I'll
                                                                                     ' I'll kill you.'
                                                                                                 you.'

 He made a slicing motion across his own neck when he said this,
                                                           this, pointed at me,
                                                                            me, and repeated.
                                                                                    repeated,

 'I'll
 'I' ll kill you and come after you with everything I have and II have the means to do it.'
                                                                                       it.' He further

 stated,
 stated, 'you don't
              don 't cheat an Indian without paying the price.
                                                        price, I will kill you and one swipe of a

 sword and you're dead,
                  dead, while making a motion with his hand indicative
                                                            indicative of cutting off my head.'
                                                                                         head.'

         Brian Alphonso had previously
                            previousl y pointed his finger and told Kendra Oldham,
                                                                           Oldham, Loadcraft's

 controller, she better be careful or he would come after her.
 controller,                                              her. I know Kendra felt threatened and

then when Brian Alphonso threatened to kill me and cut my head off with a sword,
                                                                          sword, I was fearful
                                                                                       fearful

 and apprehensive as he was snarling in an aggressive demeanor,
                                                      demeanor, sweating and his upper lip was

shaking.
shaking. I believed the threat to be imminent
                                     imminent and so we proceeded to leave the meeting as soon

as we could.
      could.

        Further Affiant sayeth not.
                               not."-



                                                  TERRY MITER, Owner and Managing Member
of
                                                  LOADCRAFT INDUSTRIES,
                                                             INDUSTRIES, LTD.
                                                                         LTD. and
                                                  GLIDER PRODUCTS,
                                                         PRODUCTS, LLC



                                                  Z() , 2021,
        SUBSCRIBED AND SWORN TO BEFORE ME on July 2t,   2021 , by Terry McIver.
                                                                        Mclver.

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                                    GRE
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                      Notary    #129902'4     I         otary
                                                        otar Public, State of Texas
                       y Commission Expires
                      My             Expi
                               30, 2022
                          July 30, 20
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Affidavit of Terry McIver
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                         Automated Certificate of eService
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certificate of service that complies with all applicable rules.

Amanda Livezey on behalf of Robert Wagstaff
Bar No. 20665000
alivezey@mcmahonlawtx.com
Envelope ID: 55551144
Status as of 7/22/2021 1:20 PM CST

Case Contacts

Name                 BarNumber   Email                       TimestampSubmitted      Status

Sheldon ERichie                  srichie@rg-austin.com       7/21/2021 10:23:52 AM   SENT

Katherine JWalters               kwalters@rg-austin.com      7/21/2021 10:23:52 AM   SENT

Robert BWagstaff                 rwagstaff@mcmahonlawtx.com 7/21/2021 10:23:52 AM    SENT

Laurie Vann                      lvann@mss.law               7/21/2021 10:23:52 AM   SENT

Lorri Stevenson                  lstevenson@rg-austin.com    7/21/2021 10:23:52 AM   SENT
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     WRITTEN CONSENT OF THE MANAGERS OF BRADY PLANT OPERATORS, LLC
              IN LIEU OF A SPECIAL MEETING OF THE MANAGERS

            The undersigned Members and Managers of Brady Plant Operators, LLC (the "Company"),
    pursuant to Sections 101.356 and 101.359 of the Texas Business Organizations Code, being the
    majority of the Managers of the Company, do hereby waive notice and call of, and in lieu of a
    special meeting of the Managers, do hereby consent that the following resolutions be deemed to
    be adopted to the same extent and effect as if adopted at formal meetings of the Managers, duly
    called and held for the purpose of acting upon the proposals to enact such resolutions which are as
    follows:

    Actions by Managers

           WHEREAS, the Managers desire to retain Waller Lansden Dortch & Davis, LLP
           as bankruptcy counsel for Loadcraft Industries, Ltd.;

    NOW THEREFORE, BE IT:

           RESOLVED, that Waller Lansden Dutch & Davis LLP are retained as bankruptcy
           counsel for Loadcraft Industries, Ltd.; and

            FURTHER RESOLVED that Brian Alphonso, the authorized representative of
            Glorious Splendor Too, LLC is authorized to execute any and all documents
            necessary to retain the services of Waller Lansden Dortch & Davis LLP.

    Actions by Managers

            WHEREAS, the Managers have determined that it is in the best interest of the
            company for Waller Lansden Dortch & Davis LLP file Chapter 11 bankruptcy for
            Loadcraft Industries, Ltd.;

    NOW THEREFORE, BE IT:

            RESOLVED, that Waller Lansden Dortch & Davis LLP is authorized to file
            Chapter 11 bankruptcy for Loadcraft Industries, Ltd.

    Actions by Managers

            WHEREAS Terry McIver has not operated Loadcraft Industries, Ltd. using good
            business judgment. In fact, there is evidence that Mr. McIver has failed to fulfill
            his duties, violated the by-laws, violated the Company Agreement and has breached
            his fiduciary duties to Loadcraft Industries, Ltd.

     NOW THEREFORE, BE IT:

            RESOLVED, that Charles Hinkle is authorized to terminate Terry McIver and any


     WRITTEN CONSENT OF THE MANAGERS OF BRADY PLANT OPERATORS, LLC
     IN LIEU OF A SPECIAL MEETING OF THE MANAGERS


                                              EXHIBIT "E"
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              other person(s) he believes would be in the best interest of Loadcraft Industries,
              Ltd.; and

              FURTHER RESOLVED, that Charles Hinkle is to remove Terry McIver's
              authority to act on behalf of Loadcraft Industries, Ltd. with any banking institution;
              and

              FURTHER RESOLVED, that Charles Hinkle is to take possession of all keys,
              computers, thumb drives, and other items of Loadcraft Industries, Ltd from Terry
              McIver and to escort him off of the Loadcraft Industries, Ltd. or Glider Products
              LLC properties; and

              FURTHER RESOLVED, - that Charles Hinkle has all necessary authority to
              direct the activities of Loadcraft Industries, Ltd. and to appear for Loadcraft in the
              Chapter 11 case or any other legal matter as its representative.

    IN THE EVENT THAT THIS WRITTEN CONSENT IS NOT EXECUTED BY ALL OF THE
    MANAGERS OF THE COMPANY, THEN, PURSUANT TO SECTION 101.358 OF THE
    TEXAS BUSINESS ORGANIZATIONS CODE, THE UNDERSIGNED MEMBERS OF THE
    COMPANY, BEING MANAGERS HOLDING NOT LESS THAN THE MINIMUM NUMBER
    OF VOTES THAT WOULD BE NECESSARY TO TAKE THE ACTIONS HEREUNDER AT
    A MEETING AT WHICH ALL MANAGERS ENTITLED TO VOTE ON SUCH ACTIONS
    WERE PRESENT AND VOTED, DO HEREBY WAIVE NOTICE AND CALL OF, AND IN
    LIEU OF A SPECIAL MEETING OF THE MANAGERS, DO HEREBY CONSENT THAT THE
    FOREGOING RESOLUTIONS BE DEEMED TO BE ADOPTED TO THE SAME EXTENT
    AND EFFECT AS IF ADOPTED AT A FORMAL MEETING OF THE MANAGERS DULY
    CALLED AND HELD FOR THE PURPOSE OF ACTING UPON THE PROPOSALS TO
    ENACT SUCH RESOLUTIONS.

            EXECUTED TO BE EFFECTIVE on the first date on which this Written Consent is
    delivered to the Company by delivery to its registered office, its principal place of business, or the
    Managers, by hand delivery or certified or registered mail, return receipt requested.

     GLORIOUS SPLENDOR TOO, LLC                                           CHARLES HINKLE
                                                                          Chatted 6We
                                                                          Chat tr,!..; Ilt,rkto
                                                                                   2021                  't::71

     BY:
                 Brian Alphonso, Member                                                   Dec 23, 2021
                                                                          Date:
     Date:

     TERRY McIVER



     Date:

    WRITTEN CONSENT OF THE MANAGERS OF BRADY PLANT OPERATORS, LLC
    IN LIEU OF A SPECIAL MEETING OF THE MANAGERS                                                                  PAGE 2
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    IN LIEU OF A SPECIAL MEETING OF THE MANAGERS                          PAGE 3
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2021-12-23 Written Consent - Brady Operators
Managers
Final Audit Report                                                                               2021-12-23

     Created:              2021-12-23

     By:                   Katherine Walters (lovalters@rg-austin.com)

     Status:               Signed

     Transaction ID:       CBJCHBCAABAAoTD24aM9U0SKu9E5Ly1clO-Zq-Iu6A_P




"2021-12-23 Written Consent - Brady Operators Managers" Hist
ory
.5     Document created by Katherine Walters (kwalters@rg-austin.com)
       2021-12-23 - 7:00:40 PM GMT- IP address: 64.183.177.162


L--•   Document emailed to Charles Hinkle (chinkle@zylotherapeutics.com) for signature
       2021-12-23 - 7:01:24 PM GMT


t      Email viewed by Charles Hinkle (chinkle@zylotherapeutics.com)
       2021-12-23 - 7:02:03 PM GMT- IP address: 173.239.199.129


       Document e-signed by Charles Hinkle (chinkle@zylotherapeutics.com)
       Signature Date: 2021-12-23 - 7:03:27 PM GMT - Time Source: server- IP address: 173.239.199.129


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                                                                                                      LC_I-API-RIGS
                                                                                          Loadcraft Industries LTD.
                                                                             Manufacturing Facilities at Brady, Texas
                   •                                                                     325-597-2911. 325-597-0781

                 OA .CRA:1.1"
                                              LTD




      December 29, 2021

      To Terry McIver:

             The managers of the General Partner of Loadcraft have decided to immediately
      terminate your employment with Loadcraft for cause. There is evidence that you have
      attempted to enter into transactions with third parties without proper approval or consent of
      the General Partner, failed to fulfill your duties, violated the Company's by-laws, violated the
      Company Agreement and have breached your fiduciary duties to Loadcraft Industries,
      Ltd. Your employment with the company as well as your position as a manager of Brady Plant
      Operators, LLC is TERMINATED EFFECTIVE IMMEDIATELY.

             You are directed to turn-in all company assets including but not limited to: keys,
       computer, materials and documents, cell phone to Charles Hinkle.

              You are directed and instructed to no longer use the company name; attempt to sign
       any documents on behalf of the company; represent to any third-party that you are an
       employee, officer, or contractor to the company; interfere with the company and its employees;
       customers or vendors in any way except to the extent of your actual interest in the general
       partner of Loadcraft; and subject to the partnership agreement as it has been amended and
       modified.

               The Company will provide all notices to you that are required at law and will provide
       all benefits, if any, required by law.

Loadcraft Industries, Ltd.
by the Authorized Manager of its General Partner
Brady Plant Operators, LLC



           -t.



Charles Hinkle, Authorized Manager
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      WRITTEN CONSENT OF THE MAJORITY OF THE LIMITED PARTNERS OF
                        LOADCRAFT INDUSTRIES, LTD.
          IN LIEU OF A SPECIAL MEETING OF THE LIMITED PARTNERS

          The undersigned majority of the limited partners of Loadcraft Industries, Ltd. (the
  “Company”), pursuant to Sections 6.201, 6.202 of the Texas Business Organizations Code and
  6.11 of the Limited Partnership Agreement, being the majority of the limited partners of the
  Company, without the requirement of a notice and meeting do hereby consent that the following
  resolutions be deemed to be adopted to the same extent and effect as if adopted at formal meetings
  of the limit partners, duly called and held for the purpose of acting upon the proposals to enact
  such resolutions which are as follows:

  Actions by Majority of Limited Partners

         WHEREAS, the majority of the limited partners desire to remove Brady Plant
         Operators LLC as the general partner of the Company; and

         WHEREAS, the majority of the limited partners desire to appoint Glorious
         Splendor Too, LLC as the new general partner of the Company; and

         WHEREAS, the majority of the limited partners desire to continue the Company.

  NOW THEREFORE, BE IT:

         RESOLVED, that Brady Plant Operators LLC is removed as the general partner
         of the Company and Glorious Splendor Too, LLC is elected as the new general
         partner of the Company; and

         RESOLVED, that the limited partnership Loadcraft Industries, Ltd. shall continue.

          EXECUTED TO BE EFFECTIVE on the first date on which this Written Consent is
  delivered to the Company by delivery to its registered office, its principal place of business, or the
  limited partners, by hand delivery or electronic mail.

   GLORIOUS SPLENDOR TOO, LLC by Brian NESTOR OUTCOMES, LLC by Charles
   Alphonso, Manager                   Hinkle, Manager

                                                         \1.?(-1,„
   BY:
           Brian Alphonso, Manager
                                                      Date: December 31, 2021
   Date: December 31, 2021




  WRITTEN CONSENT OF THE MAJORITY OF THE LIMITED PARTNERS
  IN LIEU OF A SPECIAL MEETING OF THE LIMITED PARTNERS
                                                EXHIBIT "F"
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   WRITTEN CONSENT OF THE MANAGERS OF GLORIOUS SPLENDOR TOO, LLC
            IN LIEU OF A SPECIAL MEETING OF THE MANAGERS

          The undersigned Members and Managers of Glorious Splendor Too, LLC (the
  “Company”), pursuant to Sections 101.356 and 101.359 of the Texas Business Organizations
  Code, being the majority of the Managers of the Company, do hereby waive notice and call of,
  and in lieu of a special meeting of the Managers, do hereby consent that the following resolutions
  be deemed to be adopted to the same extent and effect as if adopted at formal meetings of the
  Managers, duly called and held for the purpose of acting upon the proposals to enact such
  resolutions which are as follows:

  Actions by Managers

         WHEREAS Terry McIver has not operated Loadcraft Industries, Ltd. using good
         business judgment. In fact, there is evidence that Mr. McIver has failed to fulfill
         his duties, violated the Partnership Agreement and has breached his fiduciary duties
         to Loadcraft Industries, Ltd.

  NOW THEREFORE, BE IT:

         RESOLVED, that Charles Hinkle is authorized to terminate Terry McIver and any
         other person(s) he believes such termination(s) would be in the best interest of
         Loadcraft Industries, Ltd.; and

         FURTHER RESOLVED, that Charles Hinkle is authorized to remove Terry
         McIver’s authority to act on behalf of Loadcraft Industries, Ltd. with any banking
         institution; and

         FURTHER RESOLVED, that Charles Hinkle is authorized to take possession of
         all keys, computers, thumb drives, and other items of Loadcraft Industries, Ltd from
         Terry McIver and to escort him off of the Loadcraft Industries, Ltd. or Glider
         Products LLC properties; and

         FURTHER RESOLVED, that Charles Hinkle has all necessary authority to direct
         the activities of Loadcraft Industries, Ltd. and to appear for Loadcraft in the Chapter
         11 case or any other legal matter as its representative; and

         FURTHER RESOLVED, that Charles Hinkle is employed by Loadcraft
         Industries, Ltd. as the Chief Executive Officer of Loadcraft Industries, Ltd.

  IN THE EVENT THAT THIS WRITTEN CONSENT IS NOT EXECUTED BY ALL OF THE
  MANAGERS OF THE COMPANY, THEN, PURSUANT TO SECTION 101.358 OF THE
  TEXAS BUSINESS ORGANIZATIONS CODE, THE UNDERSIGNED MEMBERS OF THE
  COMPANY, BEING MANAGERS HOLDING NOT LESS THAN THE MINIMUM NUMBER
  OF VOTES THAT WOULD BE NECESSARY TO TAKE THE ACTIONS HEREUNDER AT
  A MEETING AT WHICH ALL MANAGERS ENTITLED TO VOTE ON SUCH ACTIONS


  WRITTEN CONSENT OF THE MANAGERS OF GLORIOUS SPLENDOR TOO, LLC
  IN LIEU OF A SPECIAL MEETING OF THE MANAGERS
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  WERE PRESENT AND VOTED, DO HEREBY WAIVE NOTICE AND CALL OF, AND IN
  LIEU OF A SPECIAL MEETING OF THE MANAGERS, DO HEREBY CONSENT THAT THE
  FOREGOING RESOLUTIONS BE DEEMED TO BE ADOPTED TO THE SAME EXTENT
  AND EFFECT AS IF ADOPTED AT A FORMAL MEETING OF THE MANAGERS DULY
  CALLED AND HELD FOR THE PURPOSE OF ACTING UPON THE PROPOSALS TO
  ENACT SUCH RESOLUTIONS.

          EXECUTED TO BE EFFECTIVE on the first date on which this Written Consent is
  delivered to the Company by delivery to its registered office, its principal place of business, or the
  Managers, by hand delivery or electronic mail.

   GLORIOUS SPLENDOR TOO, LLC                                        GLORIOUS SPLENDOR TOO, LLC


   BY:
                                                                     BY:
               Brian Alphonso, Manager
                                                                           Nisha Alphonso, Manager
   Date: December 31, 2021
                                                                     Date: December 31, 2021




  WRITTEN CONSENT OF THE MANAGERS OF GLORIOUS SPLENDOR TOO, LLC
  IN LIEU OF A SPECIAL MEETING OF THE MANAGERS                                                   PAGE 2
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